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EXHIBIT 2

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UNITED STATES DISTRICT COURT
S()UTHERN DISTRICT OF NEW YORK

 

MARCELO PALADINI

Plaintiff, Civil Action:
v.
BMO HARRIS BANK. N.A. and MONERIS COMPLAINT

SOLUTIONS , INC.

AMENDED
Defendants. z

 

Plaintiff Marcelo Paladini (“Paladini”), by and through his counsel, Aschettino
Struhs LLP, as and for his Amended Complaint against the defendants, BMO Harris
Bank, N.A. (“Harris”) and Moneris Solutions, Inc. (“Moneris”), hereby alleges as
follows:

NATURE OF THE CASE

l. Paladini brings this civil action against the Defendants for economic
duress, breach of fiduciary duty, breach of the covenants of good faith and fair dealing,
tortious interference With business relations, general malpractice and negligence.

2. Paladini was the majority shareholder and guarantor of non-party Cynergy

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Data, LLC (“Cynergy Data”), for which Harris served as sponsor bank. and Moneris, its
affiliate. provided certain services.

3. Paladini was also a party to that certain Forbearance Agreement described
more fully herein.

4. As sponsor bank, Harris was the gatekeeper for all funds movements
associated with credit card and other electronic transactions for which Cynergy provided
processing services to thousands of merchants.

5. Moneris provided various services for Harris and separately contracted
with Cynergy to ensure that Cynergy`s accounts were reconciled on a daily basis.

6. The Defendants ignored their contractual and common law duties to
Cynergy and Paladini. They failed to monitor the daily transactions in Cynergy’s
operating account and provided incorrect information to Cynergy. These transactions
included authorized withholdings from merchants - merchant reserves - which were thus
to be accounted for and maintained separately.

7, More than eight (8) months after the inception of their contracts with
Cynergy, through an improper and unauthorized communication with a third party, the
Defendants claim to have first become aware that their failures had resulted in substantial
shortfalls in Cynergy’s merchant reserves and corresponding misinformation to Cynergy
with regard to its operating account.

8. Rather than acknowledge their errors and undertake corrective measures,
the Defendants disingenuously feigned ignorance with respect to the shortfalls in
Cynergy’s operating accounts. They then made false allegations against Cynergy -

including allegations that Cynergy had breached its contractual obligations to the

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Defendants - in order to coerce Cynergy to replenish the alleged multi~million-dollar
merchant reserve deficit the Defendants had created.

9. Ultimately, the Defendants put a gun to Cynergy’s head: Harris
threatened to suspend Cynergy’s funding and thus put Cynergy out of business unless it
acceded to Harris’s unjustified demands.

l(). It was in this context that Harris coerced Cynergy and Paladini to sign the
Forbearance Agreement.

ll. The Defendants’ egregious conduct resulted in a number of injuries to
Paladini personally, including, but not limited to: the loss of Paladini’s entire equity
interest in Cynergy, a company he co-founded; several lawsuits filed against Paladini by
lending institutions and Cynergy’s liquidation trustee seeking to hold Paladini liable for
transactions that occurred in reliance upon Defendants’ misrepresenations; and
permanent damage to Paladini’s professional reputation.

12. Beginning with its predecessor, CPS Group, Inc., Cynergy had been in
operation since 1995. In 2008, the year preceding Cynergy’s bankruptcy and sale,
Cynergy had annual revenues of approximately Sl40,000,000 and was valued in excess
of $300,000,000. Paladini’s 91 .6% ownership interest, net of the company’s
indebtedness, was thus conservatively believed to be worth in excess of $200,000,000.

13. In 2009, Cynergy was sold in a bankruptcy sale to The ComVest Group
for $81,000,000 - approximately $40,000,000 less than what Cynergy owed to its
creditors. Paladini’s shares were worthless. And Paladini was on the hook for the
shortfall due to his personal guaranty of Cynergy’s indebtedness.

THE PARTIES AND OTHER ENTITIES

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14. Plaintiff Paladini is a citizen of the State of Florida and also has a
residence in the State of New York, within the Southern District of New York.

15. Defendant Harris is a corporation organized under the laws of Canada,
with its principal place of business at 111 West Monroe Street, Chicago, lllinois 60603.

16. Defendant Moneris is a corporation organized under the laws of Illinois,
with its principal place of business at 150 North Martingale Road, Suite 900,
Schaumburg, Illinois, 60173. During the subject events, Moneris was an affiliate and
agent of Harris.

17. Non-party CPS Group, lnc. d/b/a/ Cynergy Data (“CPS”) was a
corporation organized under the laws of New York, with its principal place of business
during the subject events at 45 West 36th Street, New York, New York. CPS provided
payment-processing services for merchants, including credit card, debit card, electronic
benefit transfer and check processing services.

18. Non-party Cynergy Data Holdings, Inc. (“Cynergy Holdings") was a
corporation organized under the laws of Delaware, with its principal place of business
initially at 45 West 36th Street, New York, New York. and thereafter at 30-30 47th
Avenue, Long Island City, New York. Cynergy Holdings was the successor-in-interest to
CPS, CPS having merged with Cynergy Holdings on October 4, 2007.

19. Non-party Cynergy Data, LLC (“Cynergy Data” and together with
Cynergy Holdings and CPS, “Cynergy”) was a limited liability company organized under
the laws of Delaware, with its principal place of business during the subject events at 45
West 36th Street, New York, New York, and thereafter at 30-30 47th Avenue, Long

Island City, New York. Like CPS, Cynergy Data provided payment-processing services

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for merchants, including credit card, debit card, electronic benefit transfer and check
processing services. Cynergy Data was a wholly owned and controlled subsidiary of
Cynergy Holdings.

20. Cynergy Holdings and Cynergy Data together filed a petition for Chapter
11 bankruptcy protection on September l, 2009.

21. Plaintiff Paladini had held 47 .75% of the shares of CPS and was the co-
founder, Chief Executive Officer, Vice Chairman, and Vice President of Business
Development of CPS. In 2007 Paladini purchased additional shares from the other
majority shareholder, John Martillo. Paladini thus became the majority shareholder,
owning 91 .6% of Cynergy Holdings. Paladini also assumed the role of Chief Executive
Officer of both Cynergy Holdings and Cynergy Data.

JURISDICTI()N AND VENUE

22. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §
1332(a) because plaintiff Paladini and the Defendants hold diversity of citizenship, as
Paladini is a citizen of Florida and Harris and Moneris are citizens of Illinois, and the
claim of losses by plaintiff Paladini exceeds $75,000 in the aggregate.

23. Venue is proper in the Southem District of New York pursuant to 28
U.S.C. § l39l(b)(2) because it is the “judicial district in which substantial parts of the
events or omissions giving rise to the claim occurred.” Plaintiff Paladini was located in
the Southern District of New York at all times relevant to this action, and the facts and
circumstances giving rise to this Amended Complaint, including, but not limited to, the
payments between Cynergy and Harris, occurred in the Southern District of New York.

GENERAL ALLEGATI()NS
I. Cynergy’s Business

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24. Cynergy was a provider of payment processing and related merchant
services for credit card and other electronic transactions that served approximately 80,000
merchants.

25. Cynergy was not a financial institution. Rather, Cynergy was an
Independent Sales Organization (“ISO”) and Member Service Provider (“MSP”), as those
terrns are described by Visa and MasterCard, respectively. This required Cynergy to
register with the Visa and MasterCard networks in order to provide payment processing
services to merchants.

26. Further, Cynergy was not permitted to facilitate any credit card, debit card,
or similar transactions without the involvement and assistance of a sponsoring bank. The
sponsor bank itself was required to be a licensed financial institution, and a member of
the Visa and MasterCard networks.

27. Until November 2008, Bank of America (“BofA”) served as Cynergy’s

sponsor bank.

II. Harris’s Relationshin with Cvnergvas Sponsor Bank

a. Harris Replaces BofA as Cvnerzv’S Sponsor Bank Pursuant to the
BIN Sponsorship Agreement

28. On November 1,2008, Harris replaced BofA as Cynergy’s sponsor bank
pursuant to a BIN Sponsorship Agreement (the “BIN Agreement”). A true and correct
copy of the BIN Agreement is annexed hereto as Exhibit A.

29. Under the BIN Agreement, Cynergy purports to grant certain liens on
Cynergy’s assets in favor of Harris. However, Harris expressly agreed to subordinate

these liens in an intercreditor agreement, dated April 28, 2009, among Harris and certain

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other creditors (the “Harris lCA"). A true and correct copy of the Harris ICA is annexed
hereto as Exhibit B.

30. The Harris ICA provides, with limited exceptions, that Harris’s liens
would be subordinated to the existing liens of senior lenders. Specifically, in November
of 2007, Ableco Finance LLC (“Ableco”), A3 Funding LP (“A3 Funding”), Dymas
Funding Company, LLC (“Dymas”) (collectively the “Lenders”) and Cynergy entered
into a Financing Agreement whereby the Lenders provided capital to Cynergy, Further,
in August of 2008, Ableco, A3, Garrison Credit Investments I, LLC, and Garrison Credit
Opportunities Holdings L.P., (“Gam'son”), Comerica Bank (“Comerica"), as agent, and
Dymas (collectively the “Terrn B Parties”) entered into a Senior Credit Agreement with
Cynergy for additional credit. (The Lenders and Term B Parties are collectively referred
to herein as the “Cynergy Lenders.”)

31. These senior lien holders were parties that had previously provided credit
and lending facilities to Cynergy, prior to Harris assuming the role of sponsor bank.

32. Thus in assuming its role as sponsor bank, Harris expressly agreed to

subordinate its liens subject to the Cynergy Lenders’ liens.

b. Harris’s Role as Sponsor Bank
33. In its role as sponsor bank, Harris had the exclusive ability to clear and
settle credit card and debit card transactions In addition, Harris had the final authority
to approve any and all Cynergy merchants.
34. Without Harris’s sponsorship and assistance, Cynergy could not have
continued in business.

35. Harris alone was responsible for authorizing the transfer of funds to

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merchants for goods or services. Harris was thus the gatekeeper for all funds movements
associated with credit card and other electronic transactions for which Cynergy provided
processing services.

36. Harris authorized and effectuated the transfer of funds to the credit card
associations, merchants and Cynergy so that Cynergy could meet its obligations to
merchants and third-party processors In some instances, Harris permitted third parties to
effectuate transfers of funds to and from Cynergy’s operating account. Funds could not
move unless Harris moved or authorized them.

37. To facilitate this process, as part of its daily functions, Cynergy withheld
from daily batches of transactions certain funds that could be used to offset potential
future losses caused by a given merchant. These withheld funds are what the parties
refer to as “Rolling Reserves.”

38. Harris was also required to open and maintain a record for every
questionable merchant (“QM”) whose funds were to be withheld as a Rolling Reserves.

39. Cynergy was then obligated to perform a calculation that determined what
portion (if any) of the funds attributed to a merchant was to be allocated to that
merchant’s Rolling Reserves for each of Cynergy’s QMS.

40. Cynergy made this calculation based on information from each retail
transaction conducted by a merchant, as well as any and all deductions and payments
arising from that merchant activity.

41 . On a daily basis, Cynergy supplied the results of this calculation to Total
System Services, Inc. (known within the trade as “TSYS”), a “back-end” information

processor engaged by Cynergy and approved by Harris.

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42. This data was immediately and readily visible to Harris through the TSYS
online interface provided to Harris.

43. At all times, Harris had the ability to determine the amount of Rolling
Reserves attributable to Cynergy’s QMs, as well as any transfers made to/from Cynergy,

simply by viewing the TSYS information screens.

c. The Merchant Processing Agreements

44. As Cynergy’s sponsor bank, Harris required that each merchant for whom
Harris and Cynergy performed payment processing services execute a Merchant
Processing Agreement (“MPA”). A true and correct copy of the MPA is annexed hereto
as Exhibit C.

45. The MPA is a Harris form agreement that governed the relationship
between Cynergy and Harris, on the one hand, and each merchant utilizing Harris’s and
Cynergy’s services on the other.

46. This form agreement is virtually identical to the one used by BofA when it
functioned as Cynergy’s sponsor bank. Among other things, the Harris MPA recites that
Cynergy functions as Harris’s agent in all matters relating to the MPA and that “[Harris]
is at all times entirely responsible for, and in control of [Cynergy’s] performance.” See
Exhibit C, MPA, at § 9.D.

47. The MPA entitles Harris to withhold some or all of the funds that would
otherwise flow to a merchant in order to offset potential future losses caused by the
merchant (i.e., the Rolling Reserves).

48. Section 4.B. of the MPA recites:

“You are fully liable for all transactions returned for whatever
reasons, otherwise known as ‘chargebacks.’ Authorization is

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49.

granted to offset from incoming transactions and to debit the
Designated Account, the Reserve Account (defined in Section 7
below) or any other account held at [Harris] or at any other
financial institution the amount of all chargebacks.”

A chargeback, sometimes referred to as a “reject,” may occur for several

reasons, including consumer dissatisfaction or merchant fraud.

50.

As a sponsor bank, Harris is required by the credit card association rules to

effect a refund to the bank that issues a consumer’s credit card when a chargeback occurs.

51.

Harris could set these funds aside in order to establish a merchant reserve

account (“Reserve Account”).

52.

53.

The relevant text of Section 4.A.i. of the MPA recites:

"You understand and agree that [Harris] may withhold deposit and
payment to you without notice until the expiration of any
chargeback period if [Cynergy, acting as Harris’s agent] or [Harris]
determine, in their sole and reasonable discretion, that a transaction
or batch of transactions poses a risk of loss. Neither [Cynergy] nor
[Harris] are responsible for any losses you may incur due to such
delayed deposit of funds.” See Exhibit C, MPA, at § 4.A.i.

The MPA further specifically provides that Harris has the option of

requiring a merchant to establish a Reserve Account with Harris to hold all Rolling

Reserve funds:

You [merchant] will establish and maintain a non-interest
bearing deposit account (“Reserve Account”) at [Harris] initially
or at any time in the future as requested by [Cynergy, acting as
Harris’s agent] and [Harris], with sums sufficient to satisfy your
current and future obligations as determined by [Cynergy, acting
as Harris’s agent] and [Harris]. You authorize [Harris] to debit
the Designated Account or any other account you have at
[Harris] or any other financial institution to establish or maintain
funds in the Reserve Account. [Harris] may deposit into the
Reserve Account funds it would otherwise be obligated to pay to
you, for the purposes of establishing, maintaining or increasing
the Reserve Account in accordance with this Section, if it
determines such action reasonably necessary to protect its

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interests.
Exhibit C. MPA, at § 7.B.i (emphasis added).

54. Establishment of a Reserve Account is thus not automatic under the terms
of the MPA. But it may be requested by Cynergy or Harris at either’s discretion. If such
a request is made, the obligation is then on Harris, not Cynergy, to establish a Reserve
Account at Harris.

55. Had Harris elected to pursue this contractual option, Harris could have

maintained within its possession and control every penny of the Rolling Reserves.

d. The Merchant Reserve Acknowledgment

56. In addition to executing an MPA, merchants had to sign a form entitled
“Merchant Reserve Acknowledgement” (“MRA”). A true and correct copy of the MRA
is annexed hereto as Exhibit D.

57. Pursuant to the MRA, the merchant acknowledged that: (a) “[Cynergy]
and its agents, including its processing bank [Harris], have the authority to establish a
reserve account in accordance with Section 7.B of the [MPA];” and (b) the merchant
could specify the manner in which such an account, if created, would be funded (either
by a lump sum payment made by check by the merchant or by withholding an agreed
percentage from the merchant’s gross receipts). Exhibit D, MRA (emphasis added).

58. The MRA also explained to the merchant the uses to which any funds
deposited in the account would be applied and that any funds remaining in the reserve
account, if established, “will be returned to the Merchant up to 270 days after termination
of the MPA or the Merchants’ last transmission of sales drafts, whichever is later.”
Exhibit D, MRA.

59. The MRA concludes with the statement: “If there is any conflict between

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the terms of this letter and the terms of the MPA, the terms of the MPA will govern.”
Exhibit D, MRA.

60. Unlike the MPA, the MRA does not require or mandate the establishment
of a reserve account. Rather, the election to establish such an account remains within the

discretion of Harris or Cynergy, acting as Harris’s agent.l

III. Harris’s Azent Moneris’s Provides Accounting Services to Cynergy

61. ln addition to Harris’s role as Cynergy’s sponsor bank, Harris’s affiliate
and agent, Moneris Solutions, Inc. (“Moneris”), performed all functions for and on behalf
of Harris relating to the BIN Agreement and the MPA.

62. Cynergy also separately engaged Moneris to provide certain accounting
services. These additional services were separate and apart from services related to
Harris’s role as sponsor bank.

63. Cynergy paid Harris directly for the additional services that Moneris
provided.

64. Specifrcally, Moneris was responsible for daily reconciliation of transfers
in and out of Cynergy’s operating accounts to ensure the account maintained a zero
balance error. Moneris was also responsible for reconciling Cynergy’s operating account

balance with Harris’s QM’s.

 

' F or the purpose of clarifying the relationship between the various agreements, the BIN
Agreement requires that Cynergy maintain what is defined as a “Reserve Account” and
further provides that Harris may ask a merchant to maintain what is defined as a
“Merchant Reserve Account.” Exhibit A, BlN Agreement, § 2.6, However, the “Reserve
Account” as defined in the MPA and MRA, refers to the “Merchant Reserve Accounts”
(herein referred to solely as the “Reserve Accounts”) in the BIN Agreement, and not to
the “Reserve Account” which the BlN Agreement requires Cynergy to maintain. At all
times, Cynergy maintained its “Reserve Account” as it was required by the BIN
Agreement. See Exhibit C, MPA, at § 4.A.i.

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65. Moneris billed Cynergy on a monthly basis - for no less than 50 hours of
accounting services ~ for daily reconciliation of Cynergy’s operating account.
66, Moneris was thus responsible for any accounting or reconciliation errors

in Cynergy’s operating account related to Harris’s QMs.

IV. Harris Fails to Require Merchants to Maintain Reserve Accounts at Harris

67. The MRA and MPA make clear that Harris could have elected to require
that Rolling Reserve funds be maintained in Reserve Accounts under its control.

68. Contrary to the MRA and MPA, however, Harris did not elect to maintain
the Rolling Reserves. Nor did Harris require the creation of Reserve Accounts under its
control to hold the Rolling Reserves.

69. This was advantageous to Harris because it allowed Harris to avoid
incurring administrative and bookkeeping costs, as well as potential liability, associated
with establishing individual Reserve Accounts for each merchant that had an enhanced
credit risk.

70. Further, Harris made a determination that it had minimal economic risk in
failing to establish and maintain the accounts because Harris had continuing control over
the revenue flows to Cynergy,

71. As set forth above, as sponsor bank, Harris had control of all cash from
credit card, debits, ACH rejects, chargebacks and all other electronic transactions flowing
to and from Cynergy, which it remitted to, or debited from, Cynergy on a daily basis.

72. In the event Harris was called upon to pay an obligation to which Rolling
Reserves should be applied, Harris could simply demand that Cynergy supply the

required funds. Should Cynergy fail to provide those funds, Harris controlled the

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movement of all funds and thus had the practical ability to force the payment from
Cynergy by withholding the necessary funds.

73. During the entire time it served as Cynergy’s sponsor bank, Harris simply
turned over substantially all daily Rolling Reserve funds to Cynergy’s operating account,
without limitation or restriction. By doing so, Harris knowingly transferred Rolling
Reserves to Cynergy that were commingled with Cynergy’s operating funds.

74. This is how Harris operated during the entire time it served as Cynergy’s
sponsor bank.

75. Harris never ~ from November 2008 until at least July 2009 ~ required
merchants to establish Reserve Accounts and maintain funds with Harris, as was Harris’s
option under the MPA and MRA.

76. Nor did Harris ever implement any procedures to otherwise require that
Cynergy segregate and preserve the Rolling Reserves ~ despite the fact that Moneris had
been expressly engaged to review and reconcile these accounts on a daily basis.

77. Furthermore, Harris never audited Cynergy’s records to ensure that the
merchant reserve records were accurate and consistent with the funds available in the QM
account prior to the inception of the BIN Agreement, nor did it ever perform or institute
any controls going forward to balance such reserve levels with Cynergy’s own

proprietary system, “Vimas”.

V. Cynergy’s Forced Asset Sale
78. ln late 2008 and continuing in 2009, as a result of economic conditions in
the market place, Cynergy experienced a decline in merchant activity and began facing

financial difficulties.

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79. Accounting irregularities, first discovered in March 2009. further
compounded the impact upon Cynergy, The Defendants exacerbated the impact of these
irregularities by failing to reconcile Cynergy’s operating account and to otherwise report
correct information regarding the movement and withholding of funds.

80. In 2009, after hiring FTI Consulting to perform a forensic accounting
analysis, Cynergy had to restate its 2008 and 2007 earnings.

81. These earnings restatements, among other things, resulted in technical
defaults on the Cynergy Lenders’ credit facilities.

82. As a consequence of Cynergy’s defaults, the Cynergy Lenders required
Cynergy to market for sale its credit card and electronic transaction processing business,
i.e., substantially all of Cynergy’s assets.

83. In the Spring of 2009, Cynergy retained the investment banking firms

Stifel, Nicolaus and Company, lnc. and Peter J. Solomon Company to market the asset

sale.
84. Numerous parties expressed interest in Cynergy’s assets.
85. The list of suitors included Defendant Moneris.
86. All potential bidders, including Moneris, were required to sign non-

disclosure agreements (“NDA”) that required, among other things, that the bidders: (a)
keep confidential all non-public information received, and (b) not communicate with each

other.

a. Moneris Disrunts the Sale Process
87. In or about June 2009, as Cynergy was reasonably anticipating Moneris

would make a bid, Moneris and the other potential bidders were conducting their due

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diligence.

88. One of the other Cynergy bidders, EVO Merchant Services (“EVO”), had
a prior history with Cynergy. Like Cynergy, EVO was located in the New York
metropolitan area, and it was well versed in Cynergy’s operations and proprietary
technology. EVO and Cynergy almost merged operations in 2006, but the transaction
was never consummated EVO’s CEO, Ray Sidhom (“Sidhom”), had a long-standing
relationship with Paladini and other members of Cynergy’s management team. EVO was
thus viewed as a likely bidder.

89. During the due diligence process, EVO reviewed certain information that
raised concerns about a potential shortfall of Cynergy’s Rolling Reserves. Rather than
pose any questions to Cynergy’s investment bankers or through counsel as EVO was
required to do pursuant to the NDA it had executed, Sidhom called and spoke with
Moneris’s President, Gregg Cohen (“Cohen”). The two discussed their concerns and
exchanged information.

90. By discussing confidential information with another potential bidder,
Moneris clearly violated the NDA it had entered into with Cynergy.

91 . Based on Cohen’s improper disclosure of confidential information, EVO
immediately presented a lower offer to purchase Cynergy assets, and ultimately withdrew
from the bidding process.

492. Moneris acted dishonestly and with malice in order to remove EVO from
the bidding process and lower the price of Cynergy.

93. Moneris also subsequently failed to make a bid.

94. The withdrawal of these two key bidders reduced the competitive bidding

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process and ultimately had an adverse impact upon the entire sale process and the

ultimate the sale price.

b. Harris Suspends Cynergy’s Funding

95. On July 16. 2009, shortly after Moneris withdrew its bid, Moneris
forwarded correspondence to Cynergy accusing Cynergy of being in default under the
BIN Agreement (the “Default Letter”). A true and correct copy of the Default Letter is
annexed hereto as Exhibit E.

96. Moneris claimed that over $21,000,000 of Rolling Reserves should have
been, but had not been, deposited and maintained in an account or accounts at Harris.

97. Moneris further threatened to immediately exercise the setoff rights
provided to Harris in the BIN Agreement, retaining all funds that would otherwise flow
to Cynergy until it recovered the full amount of the purported Rolling Reserves shortfall.

98. After knowingly transmitting the Rolling Reserve funds to Cynergy every
day for over eight (8) months, Harris suddenly claimed that its own transmission of
Rolling Reserves to Cynergy was somehow a violation by Cynergy of the BIN
Agreement.

99. Harris’s claim of ignorance with respect to any shortfall was unfathomable
given that Harris: a) controlled the flow of funds, b) had daily access to TSYS to view
the Rolling Reserves, and c) was responsible for daily reconciliation of Cynergy’s
operating accounts.

100. Further, Cohen had expressed concerns regarding Cynergy’s operating
accounts even prior to Harris entering the BIN Agreement with Cynergy. Armed with

this knowledge, Harris undoubtedly should have paid even closer attention to Cynergy’s

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accounts rather than turn a blind eye.

101 . The Defendants knew or should have known about the alleged shortfall
prior to Moneris’s improper communications with EVO.

102. ln its Default Letter, Moneris contended that Cynergy breached
obligations imposed by the association rules of Visa and MasterCard. Yet the Default
Letter fails to cite any provision of the Rules that Cynergy allegedly violated.

103. This contention was presumably based, misguidedly, on Section 5.2 of the
BIN Agreement, in which Cynergy “agrees to comply with all applicable Rules,” defined
as including all rules “regulations or requirements that are issued or promulgated by Visa,
MasterCard or other Card networks from time to time applicable to activities or
transactions contemplated by this Agreement or under Merchant Agreements [MPA] .”
(“Rules”). Harris never provided a copy of the Rules to Cynergy.

104. The Visa rules _ over 900 pages in length _ provide that “An Acquirer
[here, Har“ris]2 must.... hold and control reserves that are accumulated and derived from
the Merchant settlement funds or used to guarantee a Merchant’s payment system
obligations to the Member.”

105, The Visa rules Harris referenced in the Default Letter, by their own terms,
govern the conduct of Harris, not Cynergy.

106. The MasterCard rules ~ which exceed 200 pages ~ similarly impose a
requirement upon Harris in section 7.3.11 to ensure that an MSP such as Cynergy does
not have access to a “Settlement Account,” as follows: “Settlement Account: An MSP

[here, Cynergyj must not have access to any account for funds then or subsequently due

 

2 Harris is defined as an “Acquirer” in the BIN Agreement, Section 3.1.B.

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to a Merchant for Activity and/or funds withheld from a Merchant for chargebacks
arising out of Activity. A Member [here, Harris] must not assign or otherwise transfer an
obligation or reimburse a Merchant to an MSP if the obligation arises from Activity.”

107. Again, Cynergy did not and could not violate this provision. Nor did
Harris ever even allege that Cynergy had access to a “Settlement Account."

108. Lastly, the MasterCard rules state in section 7.3.1 that it is the obligation
of Harris, not Cynergy, to ensure that conformance with the rules. Under the
MasterCard Rules, Harris was at all times entirely responsible for and must itself manage,
direct and enforce all aspects of Cynergy’s merchant processing.

109. Given Harris’s unambiguous responsibility for compliance with the
MasterCard rules, it is again unfathomable that Harris would contend that its own conduct
-- in transferring Rolling Reserves to Cynergy -- was some sort of “default” by Cynergy.

110. The Defendants’ contentions in their Default Letter were false. Cynergy
was not in default of the BIN Agreement. And there was no $21,000,000 shortfall or
other amount due to Harris.

ll 1. Nevertheless, on or about July 16, 2009, the Defendants suspended all
funding to Cynergy to initiate the recovery of those funds.

112. The Defendants’ actions were undertaken in bad faith and - in the
context of an asset sale - jeopardized the entire sale process.

113. Further, as a result of its loss of funding, Cynergy was unable to timely
pay its extensive network of agents and ISOs their monthly commissions (“Residuals”)
on July 20, 2009.

114. Ultimately, after being forced to enter into the onerous Forbearance

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Agreement discussed infra. Cynergy paid the Residuals to its agents and ISO’s
approximately one week late,

l 15. This was the first time infourteen years that Cynergy had failed to timely
pay its agents and ISOs their Residuals.

l 16. By paying the Residuals late, Cynergy was faced with the risk of an
imminent loss of all of Cynergy’s merchants -- its most valuable asset -- and agents to
other competitors

l l7. The ensuing bad rumors and press that invaded the market place with
respect to Cynergy’s alleged mishandling of merchant funds, the claimed breach of the
BIN Agreement, and the potential liquidation of substantially all of Cynergy’s assets

destroyed both Cynergy’s and Paladini’s reputations.

c. Harris Forces Cynergy and Paladini to Enter the Forbearance
Agreement.

l 18. On July 24, 2009, one week after it had suspended Cynergy’s funding,
Harris forced Cynergy and Paladini to enter into a Forbearance Agreement. A true and
correct copy of the Forbearance Agreement is annexed hereto as Exhibit F.

l 19. The Defendants threatened to continue suspending funding if Cynergy and
Paladini did not sign the Forbearance Agreement. As detailed above, without Harris’s
authorization, Cynergy could had no access to its operating revenues and thus could not
operate its business

120. The Defendants acted in bath faith during the entire process of entering
into the Forbearance Agreement.

121. The Defendants refused Cynergy’s collection and transfer of over 356

million as a good faith down payment on the alleged $21 million shortage of Rolling

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Reserves to Harris.

l22. The Defendants further refused to provide Cynergy any opportunity to
continue replenishing the Rolling Reserves at a reasonable rate and to pay merchants
entitled to Rolling Reserves funds in due course in accordance with each individual
reserve due date.

123. Rolling Reserves were not due and payable.

124. Cynergy had never failed to return any reserves due to its merchants in its
fourteen-year history.

125. If given the opportunity to replenish the Rolling Reserves at a reasonable
pace, Cynergy could have cured the shortfall without ever defaulting on any of its
obligations to return funds to merchants as such funds became due.

126. The Defendants even disregarded the three-year business plan Cynergy
had presented to the Cynergy Lenders that showed a clear path of growth and corrective
actions to rebuild Cynergy’s value so it could be sold for a substantially higher price in
the future.

127. The Defendants denied Cynergy the opportunity to negotiate with the
Cynergy Lenders to try and recapitalize.

128. The Defendants did so because Harris was aware that the Cynergy
Lenders disagreed with Harris’s untenable position regarding the claimed shortfall in
Rolling Reserves, as well as Harris’s contention that the reserves had to be funded by
immediate payment to Harris.

129. The Cynergy Lenders conveyed to Cynergy their strong disagreement with

Harris’s position. Cynergy, in turn, encouraged them to collectively try to reach an

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accommodation with Harris, to no avail.

130. Harris even required that Paladini personally sign the Forbearance
Agreement based on a claim that Paladini was a guarantor of the Finance Agreement and
the Senior Credit Agreement with the Cynergy Lenders.

131. Harris’s motivation to force and accelerate the sale process was to
replenish the Rolling Reserves as quickly as possible in order to minimize their potential
liability to merchants and corresponding exposure to Visa and MasterCard stemming

from Harris’s violation of the Rules.

Vi. Harris’s Claims That Cvnerzv Breached the BIN Agreement Were
Knowingly False.

132. Harris’s position that Cynergy breached the BIN Agreement was
knowingly disingenuous.

133. Gther than the Defendants’ vague, one-page Default Letter containing
baseless claims, Defendants never provided Cynergy or Paladini with any written support
for the claimed Rolling Reserves shortfall.

134. Cynergy, Paladini and the Cynergy Lenders denied that any amount was
due to Harris.

135. Harris essentially claimed that it first discovered in July of 2009 the
shortfall in the Reserve Accounts - accounts that by definition could only have been
established and maintained at Harris pursuant to Section 7.B of the MPA.

136. Any surprise over the purported “shortfall” occurred because Harris and
Moneris were asleep at the wheel, failed to view the data available on TSYS, failed to
reconcile the merchant reserves balances inherited from its predecessor BofA and failed

to pay even minimal attention to the funds they were controlling and accounts they were

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reconciling.

137. Ironically, Harris and Moneris had been billing Cynergy for over fifty (50)
hours of monthly accounting services to reconcile Cynergy’s operating account with
Harris’s QM account on a daily basis.

138. The fact that no Reserve Accounts had been maintained at Harris was not
a breach of the MPA by Cynergy but was instead a breach of the BIN Agreement by
Harris.

139. Harris essentially put a gun to Cynergy’s head: Harris threatened to put
Cynergy out of business unless Cynergy acceded to Harris’s unjustified demands.

l40. It was in this context that Harris coerced Cynergy and Paladini to sign the
Forbearance Agreement.

l4l. The Forbearance Agreement belatedly attempted to rewrite the BIN
Agreement and the MPA to impose upon Cynergy obligations that are not found in either
of those agreements. However, as the Forbearance Agreement is not a contemporaneous
agreement entered among the parties, it can in no way vary or contradict the clear and
unambiguous terms of the BIN Agreement and MPA.

142. ln the Forbearance Agreement, Cynergy was forced to acknowledge that
the Rolling Reserves were “to be held in deposit at Harris pursuant to the BIN Agreement
and [were] not so held” and “are unconditional obligations of [Cynergy] to Harris.” See
Exhibit F, Forbearance Agreement, at 2.

143. Yet the BlN Agreement contains no such requirement.

144. ln fact, there is nothing in the BIN Agreement that creates an obligation by

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Cynergy to replenish the Rolling Reserves held at Harris.3 Harris’s practice of
transmitting the Rolling Reserve funds directly to Cynergy was entirely consistent with
the BIN Agreement and in no way constituted a "default” by Cynergy as Harris
erroneously asserted

145. Section 2.1 (F) of the BIN Agreement, specifically invoked by Moneris in
its July 16, 2009 letter, merely provides that “[Cynergy] acknowledges that it will not
have access to Merchant funds.”

146. Rolling Reserves are not considered “Merchant Funds” as that tenn is
defined in the BIN Agreement.

147. Under the BIN Agreement, “Merchant Funds” are narrowly defined to
mean “the funds that are payable to a Merchant under the related [MPA].” See Exhibit
A, BIN Agreement, Article l - Definitions, at p.3.

148. Reading the BIN Agreement and MPA together, it is clear that Rolling
Reserves are not Merchant Funds.

149. Cynergy never had access to or control of Merchant Funds.

l50. Under the terms of Section 7.B.iii. of the MPA, Rolling Reserves are not
due and payable to a merchant unless all the following conditions apply: (i) the merchant
has in fact established a Reserve Account with Harris, (ii) the merchant has terminated its
MPA, and (iii) after the later of 270 days following the MPA termination date or the date
of the merchant’s last transaction conducted through Cynergy, the merchant has made a

written request for the return of any funds remaining in its Reserve Account. See MPA, §

 

3 Cynergy’s obligation to replenish is solely with respect to its “Reserve Account”; this
does not apply to the “Merchant Reserve Accounts.” See BIN Agreement, p. 3; § 2.6.
See also footnote 2.

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7.B.iii.

15 1. Unless and until all of these conditions have been satisfied, there is no
obligation on the part of Harris or Cynergy under the MPA to return the Rolling Reserves
and, thus, no prohibition on Cynergy holding such funds.

l52. Harris thus falsely created and imposed upon Cynergy and Paladini the
obligations of the Forbearance Agreement based on Harris’s own erroneous and self-
serving contentions that the Rolling Reserves were to be immediately released to Harris.

153. The Forbearance Agreement was simply a means for the Defendants to
hide their own breaches of the Visa and MasterCard Rules and to wrongfully impose

obligations upon Cynergy and Paladini.

VII. Cynergy Files for Bankruptcv.

 

154. Ultimately, both the existence and the terms of the Forbearance
Agreement bankrupted Cynergy.

155. Six weeks after its execution, on September 1, 2009, Cynergy filed for
relief under Chapter 11 of the United States Bankruptcy Code.

156. On or about October 28, 2010, ComVest purchased Cynergy Data and
Cynergy Holdings for approximately $81,000,000.

157. As a condition of the assumption of the BIN Agreement by ComVest - a
necessary prerequisite for ComVest to continue servicing Cynergy’s merchants, Harris
required the full repayment of the Rolling Reserves deficit. Yet as stated above, Harris
was not entitled to these funds.

158. Had Cynergy not been forced into bankruptcy as a result of the

Forbearance Agreement, it would have been possible to sell substantially all of Cynergy’s

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assets at a much higher price.

VIII. Paladini Sustains Damaoes.

 

159. As a result of the Defendants’ improprieties, ComVest purchased
substantially all of Cynergy’s assets for $81MM. The sale price was roughly $40MM
less than the amounts Cynergy owed to the Cynergy Lenders.

160. Paladini’s equity interest - valued at over $200MM just months before
» was completely destroyed.

161. Plaintiff has also been sued personally in four (4) separate lawsuits as a
result of the above,

162. The first two are state court lawsuits wherein the Cynergy Lenders’ are
seeking to hold Plaintiff liable loans made to Cynergy, (l) Dymas Funding Company,
LLC, A3 Funding LP,' and Ableco Finance LLC v. Marcelo Paladini, John Martillo. and
Gustavo Ceballos Action” (Case Number 09~602852), and (2) Garrison Credit
Investments l LLC v. Marcelo Paladini, John Martillo, and Gustavo Ceballos (Case
Number 603 545/2009) (the “Garrison Action”), both filed in the Supreme Court for the
State of New York.

163. Cynergy’s bankruptcy trustee also filed an adversary proceeding against
Paladini, in his personal capacity, alleging claims for breach of fiduciary duty, and other
claims arising out of the series of the above transactions, captioned as CD Liquidation
Co., LLC et al. v. Paladini (In re CD Liquidation Co., LLC et al.), (Adv. Case No. 10-
53190), filed in the Bankruptcy Court for the District of Delaware (together with the
Dymas and Garrison Actions, the “Lawsuits”). And one of Cynergy’s lenders, Comerica

Bank, filed an action in federal court in Florida Southern District Court: Comerica Bank,

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lnc. v. Marcelo Paladini (2011 CIV 62083).

164. Paladini has incurred substantial legal fees in defense of the forgoing
actions.

165. Due to Cynergy’s sale for approximately $40MM less than its
indebtedness, Paladini was exposed to substantial liability by virtue of his personal
guaranty.

166. The Defendants’ requirement that approximately $21MM of the sale
proceeds be allocated to the Rolling Reserves exposed Paladini to further liability on his
guaranty.

167. Additionally, Paladini’s fourteen-year reputation as an award-winning
entrepreneur4 and successful CEO of a leading payments processing company was
damaged beyond repair.

168. The combination of rumors initiated from conversations between the
leaders of EVG and Moneris, coupled with the claimed and published shortfall of funds
in an amount of $21MM dollars, caused irreversible damage to the perception of Paladini
in the payments industry.

169. Further, in the aftermath of the Forbearance Agreement, the former CFO
of Cynergy, Gustavo Ceballos, left the United States, fueling rumors that Cynergy’s
leaders had somehow siphoned funds for their personal use.

170. All of this served to support an assumption in the public that Paladini, as
the former CEG of Cynergy, was responsible for mishandling $21MM of company funds.

171. Having suffered such irreparable damage to his reputation, Paladini will

 

4 Paladini’s accolades include winning the Ernst & Young Entrepreneur of the Year
award in 2008.

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undoubtedly never obtain a position within the electronic payments industry again.

172. Immediately following the sale, the only job offered to Paladini was by
ComVest, the ultimate purchaser of Cynergy’s assets.

173. ComVest’s engagement of Paladini was strategic. ComVest sought to
obtain Paladini’s knowledge and expertise in order to guarantee the continuance of
Cynergy and thus to protect ComVest’s newest asset.

174. Subsequently, in February of 2012, having apparently obtained all of the
knowledge ComVest felt it needed to run Cynergy, Paladini was unceremoniously
discharged

175. Now unemployed, Paladini has no alternative but to abandon the industry

in which he spent most of his career and pursue opportunities in other industries.

FIRST CAUSE OF ACTI()N FOR
ECONOMIC DURESS

176. Paladini realleges and incorporates by reference herein the allegations set
forth in paragraphs l through 175, inclusive hereof.

177. fn the Default Letter. Harris threatened Paladini that it would suspend any
and all funds to Cynergy - which would essentially put Cynergy out of business

178. T hat threat was unlawfully made based on a non-existent breach of the
BIN Agreement. Harris transmitted Rolling Reserves directly to Cynergy - entirely
consistent with the BlN Agreement.

179. The Bll\l Agreement did not prohibit Cynergy from receiving the Rolling
Reserves.

180. Based on this unlawful threat. Paladini agreed to execute the Forbearance

l~'Xgreement in order to ensure Cynergy would continue to be funded on a daily basis

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181. Paladini had no alternative but to execute the Forbearance Agreement.

182. Cynergy’s survival and any hope of a successful outcome for Paladini
depended on receiving funds from Harris on a daily basis.

183. By reason of the f`oregoing, Paladini is entitled to judgment against Harris
and Moneris for economic duress, and Paladini is entitled to recover damages in an
amount to be determined at trial.

SECOND CAUSE OF ACTION FOR
BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

184. Paladini realleges and incorporates by reference herein the allegations set
forth in paragraphs 1 through 183, inclusive hereof.

185. Under the BIN Agreement and other agreements between the parties, it is
clear that Cynergy was relying upon the Defendants for cash flow to run and operate its
business.

186. The Defendants subsequent claimed breach of the BIN Agreement in July
of 2009, and the ensuing forced execution of the Forbearance Agreement, destroyed and
injured Cynergy’s rights to receive the fruits of the parties of Agreement.

187. The Defendants’ actions disrupted the Cynergy asset sale and resulted in a
sale for approximately $40MM less than the amount owed to the Cynergy Lenders.

188. Paladini`s injury is particularized to him because. among other things. a
portion of the equity of Cynergy belonged to Paladini. pcrsonally_ as majority
shareholder And Paladini was personally liable to the Cynergy Lenders for the shortfall
in the asset sale price.

189. ln addition. such claims are personal to Paladini by virtue of the personal

exposure and liabilities against Paladini under the F<')rbearance Agreement, and by virtue

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of the multiple lawsuits filed against Paladini personally stemming from the Defendants
acts and omissions

190. By reason o'fthe foregoing Paladini is entitled to judgment against Harris
and Moneris for breach of the covenants of good faith and fair dealing. and Paladini is
entitled to recover damages in an amount to be determined at trial.

THIRD CAUSE OF ACTION FOR
BREACH OF FIDUCIARY DUTY

191. Paladini realleges and incorporates by reference herein the allegations set
forth in paragraphs l through 190, inclusive hereof.

192. The Defendants owed Paladini a fiduciary duty, as the majority
shareholder of Cynergy and a guarantor of its indebtedness in the provision of their
acc<i)unting and reconciliation services to exercise care and to act in Cynergy`s and
Paladini `s best interest.

193. Harris had a unique and special role with Cynergy and Paladini in its
capacity as Cynergy’s sponsor bank. Harris and Moneris had complete control over the
flow of funds to Cynergy.

194. Furtlier, as sponsor bank, Paladini placed confidence and trust in Harris in
an advisory capacity for the successful operations of Cynergy.

195. Additionally, Moneris was engaged separately and apart from its servicing
role to perform accounting and reconciliation services for Cynergy.

196. Harris and Moneris were aware that in his capacity as the majority
shareholder and guarantor of Cynergy. Paladini was relying on their knowledge and
expertise regarding the reconciliation of Cynergy`s operating account.

197. Paladini reasonably )laced his trust and confidence in the Defendants`
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representations and advice concerning these daily reconciliations and the overall financial
state of Cynergy`s accounts

198. By the conduct aileged herein, the Defendants breached their fiduciary
duties to Paladini by failing to perform their material obligations with the requisite skill.
expertise and integrity

l‘,)f). The services provided by the Defendants were deficient. inadequate, and
not competent Harris and Moneris fell far below the standard of care to be exercised by
financial and accounting professionals engaged to provide similar services

Z()(). The Defendants failure proximately caused injury to Paladini by, among
other things and as further detailed above, destroying the value o't` his equity in Cynergy.

2()1. Paladini`s injury is particularized to him because, among other things_ a
portion of the equity of Cynergy belonged to Paladini` personally. as majority
shareholder

202. fn addition. such claian are personal to Paladini by virtue of the personal
exposure and liabilities against Paladini under the Forbearance Agreement~ by virtue of
the multiple lawsuits filed against Paladini personally stemming from Harris’s and
l\'loneris’s acts and omissions and by virtue of his personal guaranty of Cynergy’s
indebtedness

2()3. By reason of the foregoing Paladini is entitled to judgment against Harris
and Moneris for breach of fiduciary duty, and Paladini is entitled to recover damages in
an amount to be determined at trial.

FOURTH CAUSE OF ACTION FOR
'I`ORTIOUS INTERFERENCE WITH BUSINESS RELATIONS

204. Paladini realleges and incorporates by reference herein the allegations set

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forth in paragraphs l through 203, inclusive hereof .

205. During Cynergy’s bid process. Cynergy and Paladini had a direct business
relationship with EVO.

206 Paladini and Cynergy also had a prior relationship and course of dealing
with EVO.

2()7. The Defendants knew that E\/O was a potential bidder and intentionally
interfered with that relationship

208. The Defendants acted dishonestly and with malice in order to remove
EV() from the bidding process to lower the price of Cynergy.

209. The Defendants’ conduct caused damage and destroyed the relationship
between Paladini and EV(): EVO first presented a lower offer and later joined Moneris
in withdrawing its bid.

Zl(). The Defendants` conduct damaged Paladini because the withdrawal of
EV()’s and l\/loneris`s bids thwarted the sale process and lowered the sale price,
triggering liability to Paladini by virtue of his guaranty, destroying Paladini`s equity in
Cynergy and irreparably damaging Paladini’s professional reputation

Zl l. By reason of the foregoing, Paladini is entitled to judgment against Harris
EVO and Moneris for tortious interference with a business relationship. and Paladini is
entitled to recover damages in an amount to be determined at trial.

FIFTH CAUSE OF ACTION FOR
GENERAL MALPRACTICE

2l1 Paladini realleges and incorporates by reference herein the allegations set
forth in paragraphs i through 21 l . inclusive hereof .

23 3. Harris and its agent. Moneris. performed accounting services for Cynergy,

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profession commi')nly possess and exercise in similar situations

2]4. 'Nnoughoutdw[nokuniofdu$etwcounnngseonce&thellnendanm
represented that they had a high level of experience in providing accounting and
reconciliation services and that they were competent to perform all the necessary services
to Cynergy in compliance with the applicable professional standards and the reasonable
skill, care. and diligence that members of the accounting and financial services
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knowledge that Paladini was the majority shareholder and corporate guarantor of
Cynergy.

216. At all ti mes. Paladini reasonably relied upon the Defendants to perform
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material obligations with the requisite skill, expertise. and integrity.

2 l 8. The services provided by the Defendants were deficient. inadequate, and
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accountants or other financial professionals engaged to provide similar services

219. The Defendants’ malpractice proximately caused injury to Paladini by,
mnongodmrdnngsandashudmrdemhedabovatwsuoymgthevmueofh$equnyin

Cynergy.

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22(). Paladini`s injury is particularized to him because. among other things, a
portion of the equity of Cynergy belonged to Paladini, pcrsonally, as majority
shareholder. And Paladini was personally liable to the Cynergy Lenders for the shortfall
in the asset sale price

22l. ln addition. such claims are personal to Paladini by virtue of the personal
exposure and liabilities against Paladini under the Forbearance Agreement and by virtue
of the multiple lawsuits filed against Paladini personally stemming from the Defendants’
acts and omissions

222. By reason of the foregoing, Paladini is entitled to judgment against Harris
and Moneris for general malpractice and Paladini is entitled to recover damages in an
amount to be determined at trial.

SIXTH CAUSE OF ACTION FOR
NEGLIGENCE

223. Paladini realleges and incorporates by reference herein the allegations set
forth in paragraphs l through 222, inclusive hereof

224. in their capacity of performing accounting and reconciliation services for
Cynergy. and serving as sponsor bank, Harris and its agent Moneris owed a duty to
’aladini` Cynergy’s majority shareholder and guarantor of its financial obligations, to
exercise reasonable care and diligence in performing those duties.

2'25. The Defendants knew that Paladini would rely on their daily
reconciliati<;)ns of Cynergy’s operating account and Harris’s QMs. based on their
knowledge that Paladini was the majority shareholder and guarantor of Cynergy.

226 By the conduct alleged in the General Allegations. the Defendants

breached their duties to Paladini,

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227. The Defendants’ failure proximately caused injury to Paladini by. among
other things and as further detailed above. destroying the value of his equity in (§:ynergy.

223. Paladini`s injury is particularized to him because. among other things, a
portion of the equity of Cynergy belonged to Paladini, persi.)nally, as ritajority
shareholder. And Paladini \vas personally liable to the Cynergy Lenders for the shortfall
in the asset sale price.

229. ln addition. such claims are personal to Paladini by virtue of the personal
exposure and liabilities against Paladini under the Forbearance Agreement. and by virtue
of the multiple lawsuits filed against Paladini personally stemming from Harris’s and
Moneris`s acts and omissions

2'3(). By reason of the foregoing Paladini is entitled to judgment against Harris
and Moneris for negligence, and Paladini is entitled to recover damages in an amount to
be determined at trial.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully demands judgment against Defendant as

follows:
i. Judgment on Count l for economic duress against Harris and Moneris in
an amount to be determined at trial;
ii. Judgment on Count II for breach of the covenant of good faith and fair
dealing against Harris and Moneris in an amount to be determined at trial;
iii. Judgment on Count III for breach of fiduciary duty against Harris and

Moneris in an amount to be determined at trial;

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iv. Judgment on Count IV for tortious interference With business relations
against Harn's and Moneris in an amount to be determined at trial;

v. Judgment on Count V for general malpractice against Halris and Moneris
in an amount to be determined at trial;

vi. Judgment on Count VI for negligence against Harris and Moneris in an

amount to be determined at trial;

vii. Punitive damages in an amount to be determined at trial;
viii. Costs and attorneys’ fees; and
ix. Such other and further relief as this court deems appropriate

Dated: New York, New York
July ll, 2012

ASCHETTINO STRUHS LLP

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EXHIBIT A

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Cynergy BIN Agmt [0(1!903)
BlN Sponsor Agreement

This BIN Sponsor Agreement (“Agreement") is made as of _f§r€”m -7- , 2008 (“Effective
Date”) by and between Harris N.A., a national banking association with oPEces at 150 N.
Martingale Rd., Suite 700, Schaumburg, [L 60173 ("Bank”) and Cynergy Data, LLC,a limited
liability corporation with mines at 45 w, ram sr_, 6“1 moon New Yori¢, NY 10013(~‘130“). Iso is
engaged in the business of providing payment transaction processing to merchantsl Bank is a
member ofVisa U,S.A. (“Visa”} and MasterCard Intcmational (“Mastci{fard") and desires to
sponsor 150 into such associations_ Therefore, the parties agree as follows:

I. De{"mitions
The following terms when used in this Agreement will have the meanings set forth in this Section:
“At’tiliate” means: with regard to Baok, any company Contmllcd by or under common Control of
the Bank; and with regard to ISO, any company of which thc majority member of 150 is also a
shareholder, member or owner.
“Assessments” means the amounts paid to the Assoeiations attributable to the merchant processing
activity, as the term is defined by the Rules.
“Associatioo(s)” means Visa, MasterCard, and any successor organization
“Association Security Programs” means those data security requirements imposed by the Rules
on independent sales organizationstmembcr service providm._ merchant servicers or third party
processors (if applicabch including but not limited to the Payment Card lndustry (PCl) data
security standards and PIN security requirements, Visa Cardholder lnformation Security Program
(CISP), and MasterCard Site Data Protection (SDP).

“Ballk Fees” means the fees set forth on the attached Exhibit A Bank Fees.

 

“BI`N” means the Segregated Association Bank Identitication Number and Interbank Ca.t’d
Association (ICA) assigned to ISO currently or additional BINS assigned in the future, Which Bank
Will use exclusively for ISG’s Merchants.

“Bo{A” shall mean Bank of America, lnc.

“Boi'A Assignment and Assumption Agreement” shall have the meaning given to it in Section
2.?E. of this Agreement.

“Card” means a valid payment or service account, whether or not evidenced by a plastic card,
issued by a member of Visa, MasterCan:l or other card association Tlrird Party Provider or network
approved by ISO.

“Chargeback" means a Salcs Draft that has been presented to either the cardholder or the issuer of
the Card and for which payment through the BIN has been refused or reversed in accordance with
the Rules.

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“Cont'idential lnformatioo” means infonnation owned or licensed by each party including but not
limited to, any information pertaining to the disclosing party’s business operations, know how.
manner and means of doing business` pricing, computer and software systems and programming
documentation, acid requirements related thereto, customer and prospect lists, status reporis,
contracts, marketing straiegies, business plans, notes, financial projections, financial smtements,
sales reports, technical partners, information regarding third parties doing business with either
party, requirements and related information and any communications whether in oral, written,
graphic, magnetic or electronic i`o\'m, that is known or reasonably should be known by the other
party to be confidential or proprietaryl

“Contro|” means, as applied to a party at the time of determination the possession at such time
directly or indirectly ofthe power to direct or cause the direction of, the management and policies
of such parties, whether through thc ownership ofmore than 50% of thc voting securities of such
party, ur by contract, or otherwise

“Conversion” shall mean the conversion of Existing Merchants in the Existing Porti`olio to Bank in
accordance with the terms of this Agreement, along with the transfer of the BINs for such l':xisiing
Portt`olio.

“Credit Draft” means the electronic format used in refunding Sales Drafts initially charged to a
Ca.nd by a Merchant

“Credit Guidclim” means the standards set forth on Exhibit C. as may be revised from time to
time

“Designee Assignmeut and Assumpt'ion Agreement” shall have the meaning given to it in
Section 2.3.D. ofthis Agreement.

“Effective Dnte” means the date as outlined in the first paragraph of this Agreement.
“Event of Default” means the events listed in Section 7_3.
“Existing Ageot Banks” means the agent banks set forth on Exhibit E to this Agreement.

“Existing Merchants” means those Merchants in the Existing Portfolio whose contract for
transaction processing services with Bank of ittr.net'ir::zi7 N.A. has been assigned to Bank.

“Existiug Portfolio” means that collective rif Merchants that were (i) receiving T transaction
Processng services from BofA., and (ii) whose contract has been assigned to Bank pursuant to the
terms of the BofA Assignmcnt and Assumption Agreement.

“Existing Sales Groups” means the sales groups set forth on ELln'bit F to this Agreement

“Initial Term” has the meaning set forth in Section 7.1.

“Iotellectual Propcrty Rights” means any and all (by whatever name or term known or
designated) tangible and intangible and now known or hereafter existing {a) rights associated with

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works of authorship throughout the nniverse, including but not limited tc copyrights moral rights,
and mask-works (b) trademark and trade name rights and similar n'ghts, (c} trade secret rights, (d}
patents, designs, algorithms and other industrial propeity rights. (e) all other intellectual and
industrial property rights (of every kind and nature throughout the world and however designatch
( including logos, "rcntal" rights and rights to remunemtion) , whether arising by operation cf law.
ccnu’act, license, cr otherwise, and (i) all regisu'ations. initial applications renewals extensions
ccntinuaticns, divisions or reissucs hereof now or hereafter in force (including any rights in any of
the forcgoing).

“Interchange Fees” means the amounts paid as such, as defined by the Rules.

"ISO Agents" means independent sales organizations and agent banks which may be engaged by
lSO to market the Merchant Program. 150 Agents shall include the Existing Agent Banks and the
Existing Sales Groups.

“ISO Clearing Account" means the deposit account at the Bank designated by ISO and used to
aggregate Merchant thds, and for other purposes specified in this Agreement.

“ISO Opcrating Account” means the deposit account at Bank into which ISO Revenue will bc
deposited each day, and for other purposes specified in this Agreement. Any earnings on thc funds
deposited into this account will accrue to the benefit 01` lSO.

“lSO Revenue” means Merchant Fees less interchange Fees and Assessments.

“Loss" means any loss incurred by Bank for any reason attributable to a Merchant or ISO,
including but riot limited to uncollected Chargebaeks, Intei~ch,ange Fees, and Assceiation lines and
charges

"‘MasterCard” means MasterCard Intcmatinnal Incorpornted.

“Merehant" means a person, a business cr other entity that has entered into a Merchant Agreement
and tc which ISO provides services under this Agreement.

“Merchant Agreement" means the contract entered into among Bank, 130 [cr an 150 Agent) and
a Merchant pursuant to which ISO processes the Transacticns of such Merchant, a form of which is
attached as EL]_JAQL¢__D_.

“Merchant Fees” means all revenues collected by Bank from Merchants and deposited to the 180
Clca;ring Ac.ccunt.

“Merchant Funds” means the funds that are payable tc a Merchant under the related Merchant
Agreement.

"Merchant Loss" (collectivcly, “Merchant Losses") means any loss incurred by Bank on a cash
(i.e., pre'tax'} basis for any reason attributable to a Merchant, including without limitation losses
due to Association tincs, Chargebacl<s, fraudulent practices cf a Merchant, Merchant ACH rejects,
returns, credits or fees and other uncollected amounts due from Merchants, and costs of collection
and attorneys fccs.

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“Mercdant Portfolio” means the group of Merchants (including the Existing Merchants]
participating in the Merchant Progmm pursuant to this Agreement.

“Merchant Program" means the package of services offered by 150 which enables a Merchant to
make sales to persons by use of a Card and Which permits the Merchant to present Cf\l'd
Transactions to ISO for payment and processing

“Merchant Reserve Account” means one or more accounts maintained and controlled by Bank as
security against a Merchant Loss that might be incurred by Bank or ISO.

“Merchaot Scrvicer” means n third-party agent that; (a) is engaged by a Merchant (b) is not a
member ol"v`isa, (c`) is not directly connected to Visa‘s VisaNet system, (d) is party 10 an
authorization and/or clearing message, and (c} has access to cardholdet data, or processes, stores, or
transmits transaction data.

“Mcrehant Suspense Aneount” means the deposit account designated by 180 at Bank to
occasionally hold funds as a reserve against suspect Merchant activity Any earnings on the funds
deposited into this account will accrue to the benefit of ISO.

“Minimum Annua| Sales Vulume” means the mmimnm number ofTransactions that must be
generated by Merchants and processed by 150 under the Agreement during a calendar year.

“Miscellaneous Adjustments” means any transaction occurring through the BIN other than a Sales
Draft, Credit Draft or a Chargebat:k_

“Moothly Sales Volume” means the goss dollar amount of Visa and MasterCaId Card sales,
before return, refund ar exchange that are generated by Merchants and processed by ISO during a
calendar month

“'Recovered Funds” means all amounts received by the BIN directly or through Interchange Fees
previously debited &om the ISO Clear`rng Account. including but not limited tn Chargeback
reversals, code 26 reversals (credits issued in error), and funds attributable to Assnciation pre-
compl.ia.nc,e and arbitration procedures,

“Renewal Term” has the meaning set forth in Seclion 7.1 .

“Reserve Aneount” means the deposit account, in the name of and for the benefit of Bank, at Bank
as further described in Sectiou 2.6.

“Retrieval"' means the production of an acceptable copy under the Rules of a Salcs Dra&, Credit
Dmft or other supporting documentation by a Merchant.

“Rulm” means all m|es, regulations or requirements that are issued or promulgated by Visa,

MasterCaI-d or other Card networks from time to time applicable 10 activities or transactions
contemplated by this Ag¥eement or under Merchant Agmemcnts.

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“Sales Draft” means the paper form or electronic format used in consummating Tmnsactions
charged 10 the Card of a Merchant’s customer.

"‘Settled Transacn'tm” means Salcs Dralts less Credit Dralls, voided Sales Draits, host returns,
rejected items, Chargcbacks and Miscellaneous Adjustments.

“‘Third Party Frovider” means third parties utilized by ISO, and approved by BanlC, to process
Transactions, including but not limited to: value added rc-sellcrs, system integrators, software
pm'.'idcre, loyalty providers and transaction processors

“Transaction” means the purchase by a cardholder of goods or services from a Merchant, by use
of a Card.

"Visa“ means Visa U.S.A., lnc.
Il. ISO’s Oingatlons and Rights
2.1 ISO Responsibilitiec.

A. Solicitation. ISO will develop relationships with and solicit merchants that conform to
thc Credit Guidelines. ISO will solicit merchants for the Merchant Program on a non-
exclusive basis and will process Merchant Transaclions through the BlN. 150 may enter
into other agreements with third parties for Card clearing and settlement services or
refer prospective merchants to other parties for such clearing and settlement services_
180 will assist prospective Merchants in completing all documentation required for
application to the Merchant Program. ISO will solicit merchants that conform to the
Credit Guidelin€$ and administer its program in conformity with its established risk
practices All solicitation materials such as ads; sales brochures and W¢b Site
promotional content, must be approved by Bank, such approval not to be unreasonably
withheld or delayed

B. Aclm’ ' `v es " ' i `e . lSO will direct, managc, conduct and administer the
Merchant Program and the Merchant Agreements; provided, however, that nothing shall
be construed to authorize ISO to modify the Merchant Agrccmmts. or 10 waive any of
Bank's rights under such agreements without Bank's prior written consent lSO shall
have the sole responsibility for ensuring that thc Merchant ngram, including without
limitation thc Merchant Agreement, Merchant application materials promotional
materials and services performed under this Agreement comply, and remain in
compliance with all applicable federal_. state and local laws and the Rules Banl<'s
review and approval of such materials shall not alter 150 responsibilities thcrcfor. 130
will at all times comply with thc Rulcs, all rules and regulations of any Automated
Clearing House and all municipal, stale and federal laws, as applicable ISO shall
ensure that all Merchant Servicers engaged by Merchants are registered with the
Associa,tions, lo the extent required under the Rules ISO shall perform or contract for
all front-line operational functions consistent with industry standards, including but not
limited to Merchant underwriting customer service, and rislc‘fraud monitoring ISO will
permit Bank to have remote access to ISO’s riskffmud monitoring systems.

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C. Merchant Agreement. ISO will usc the form of the Merchant Agreement attached as
Exhibit C. ISO has the right to change the form of Merchant Agreement from time to
time upon the addition cf additional independent sales organization(s) to this
Agreement, and shall provide any new Merchant Agreement to Bank for approval prior
to implementation Approval of changes to the Merchant Agreement shall be effective
upon the providing of written approval to 150 by Bank. with such approval not to be
unri:sasonnbl;,l withheld or delayed 180 on behalf ot`Banlr shall approve all prospective
Merchant Agreements that conform to the Credit Guidelines. Bank authorizes ISO lo
execute Merchant Agreemeuts on behalf of Bank. jury exceptions to the Credit
Guidelines require the prior written approval of Bank and any such Merchant
Agreement entered into shall be signed by that approving oilicer of Bank, and may
require additional conditions oi`B;mk. ISO will provide Bank with remote access to
lSO’s document storage system, through which Bank will have access to copies of all
executed Merchant Agreements {iocluding all related applications].

D. Memhg£t Rclation§ln'p. Each Merchant will have a direct business relationship with ISO
and as such, Bank will utilize ISO for all communications, written or oral, with
Mcrchants. Subject to the Rulcs, ISO will administer and control thc Merchant
Agreement and the relationship created thereby including without limitation decisions
regarding the continuation amendment, assignment or termination of such Merchant
Agreement. Bank maintains the right to terminate any Merchant Agreement due to (i)
requirements relating to or violation of the Rulcs, applicable law or Associarion request,
{ii) an uncumd breach of the Merchant Agreement, (iii) ifthe operations of a Merchant
materially differ from the basis upon which the Merchant was approved under the Credit
Guidelines (such as significant volume differences, product differences, or type of
business, each that results in a major increase in risk as to such Merchant}, or (iv) if
Bank in good faith deems it reasonably necessary to avoid loss, damage or adverse
exposure to Bank Sub}ect to any requirements of the Rules, Banlc will notify 150 of its
desire to terminate a Merchant Agreement and will Work with 130 10 identify
approaches to mitigate risk factors {such as initiating or increasing merchant reserves or
transferring the merchant to another financial institution which is a member of the
Associations) prior to terminating the Merchant

E. Merchggt Assistance. ISD will train Merchants on the procedures and Rules necessary
to participate in the Merchant Progmm¢ ISO will input all data ni-.ces~:.zirr,f to set up new
Merchants, maintain Memhanls‘ account data, process Merchant Transactions, and
respond to Merchant inquiries, on a timelyr basis. ISO will provide to Merchants point
of sale devices and other equipment necessary to participate in the Merchant Program,
and will provide ongoing maintenance of such equipment ISO also will distribute all
Merchant supplied and provide authorization and back oi`lice services to Merchants.
ISO will process all Merchant Transactions into interchange according to the Rules.
150 will maintain adequate staffing to fulfill its obligations under this Agreement,

F. £_in'_l. ISO will prepare the ACH tile to credit each Merchant’s settlement account for
Sales Dtafls and debit each Merchant’s settlement account for the amount of Merchant
Fees, any Chargebacks, Credit Drafts, or filter amounts due under the tends of the
Merchant Agreement to IS{) by a Merchant ISO acknowledges that it will not have
access to Merchant rimds, provided however; ISO is responsible for any fees ofBanlr

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2.2

related to the holding ochrchant funds prior to distribution to Morcham.s. Bank will
reconcile the Merchant Suspense Account, and the 150 Clearing Accoum. All Merchani
Reserve Accounts are held by Bank. The ACH tile will be processed through Bank and
thc corresponding ACH offset will bc made to the lSO Clcaring Account Any system
connoctivity fees will be paid by ISO.

. |gformatiou. ISG will verify chc input of data to processors to ensure accurate Merchant

set up. lSO will provide on a monthly basis lSO’s Merchant processing statistics to
Bank. ISO will also provide to Bank within 5 days of receipt ofBank`s written request
information within ISO’s possession il required to be filed with or reported to the
Associ adons', or ii) reasonably requested by Bank to enable Bank to monitor Bank risk.
150 will provide 180 annual audited and quarterly unaudited financial statements to
Bank. 130 will provide daily electronic merchant boarding activity reports to Bank-

. [SO Traigj_ng. A]l costs associated with training ISO conducted onsite at Bank will be

paid by lso.

ISO Ag~§eg§gt_ ISO has entered into or will enter into an ISO Agreement with Bank to
become a registered ISO!MSP of Bank, and will maintain such status in good standing

MM 180 has entered or is entering into agreements directly with
Thinil Party Providch 10 provide processing servin (inoluding, without limitation,
authorization data capture data processingj customer servioe, statementsJ oollectii:als'.l
new account processings Retrieva], Chargeback, accounn`ng, reporting and clearing and
funding services) on the Third Pany Providcrs’ system Bank will cooperate With a
Third Party Provider to settle transactions through the [nterchange process of the
Assooiations. Bank shall have no responsibility or liability for anyf costs due to the
arrangements between ISO and T bird Party Providers or any claims of Morchants or
others related to the processing services provided by Thjrd Parry vaidcrs. ISO shall
be responsible for and liable to Bank for any and all actions or omissions of 'I`hird Pan*,v
Providers, and all costs related to any change to or from any Tbird Party Frovider.

K. Addilional Serviccs. ISO may combine services it is authorized to provide under thiS

Agreement with other services unrelated co the services offered by Bank to a Merchant
without the express written consan of Bank, such as but not limited to Discover Card
processing marketing of Amcrioan Express card acceptance gift cards, check image
capture and back office conversion processing services (the “Additional Services"). ISO
shall provide Merchants with adequate disclosures that such Additional Services are
being provided by 150 and nol Bank, and shall defend and indemnify and hold harmless
Bank against any and all claims which may be asserted against Bank with respect to
such Addlu'onal Serviccs. In the event Bank acts as the aoqujrcr ofDiscover
transactions for Mcmhauts, the parties agree co amend this Agreement as necessary to
comply with any requirements of the Discover Finam:ial Scrvices, lnc. IMAP and MAP
programs

Audits.

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A, _d_t_u_d_it_ Oncc each fiscal year, Bank may, upon 1 5 days prior written tztotice1 conduct a
financial and procedural audit of 150 to confirm compliance with this Agreement. Such
audit will be conducted at ISO’S expense, during ISO’s normal business hours and with
minimal disruption to ISO‘s business_ 130 will within l§ days of receipt of Bank’s
written request supply such auditors with requested information related to Transactions.
Visa, MasterCard and bank regulatory agencies may also conduct financial and
procedural audits of 150 to confirm compliance with this Agreement and the Rules and
legal requirements. Bank may, no more than once each l2 month period, at any time
and at its own expense perform a background cheek on ISO, its principals, and any of
ISO’s agents or employees, which may include a nominal credit report or criminal
background verification

B. ngglgt_orl_emd_it. 130 understands and agrees that Bank is subject to examination by
government agencies and lS{J agrees it will cooperate with any such examination
Federal and state agencies may require access to ISO’s facilities to audit th e
performance of ISO and ISO Atl'iliates and Bank under this Agreement. 180 will
cooperate with all such govemmcntal audits, at lSO’s expense

2.3 Ownership‘, Portabll'lty.

A. Bank and ISO agree that the relationship with, and the names, addresses and all
information father than cardholder account information} relating to Merchants, any lSO
Ageuts, and any Agent Banks of the Merchant Frogram, the Merchant Agreements and
any revenues, fees and beerts thereunder, and the Ble and ICAs are owned by and
proprietary to ISO and all right title and interest therein and liabilities therefrom are
vested in ISOr ISO`s data will not be used byBank except as necessary to carry out its
obligations under this Agreement. cr with ISO’s prior written consent

B. ISO may sell or assign all or any portion ot` the Merchant Portfol.io at any time. Prior to
the time that ISO has processed through Bank the Aggregate Minjmum Salcs Volume
specified in Exhibit A, prior to accepting nn offer to sell or assign any interest in the
Merchant Portfolio to an unaffiliated third party (a "'Transfer”), ISO shall provide Bank
the right of first refusal described in Section 23 .C. Once ESO has processed through
Bank the Aggregate Mim'mum Sales Volumo specified in Exhibit A, ISO may sell or
assign an interest in the Merchant Port‘fOlio to a third party without offering Bank lhe
right of first refusal. For purposes of clarification a sale or assignment of all or any
portion of the Merchant Portl`olio between ISO and an affiliate would not he deemed a
Transfer, as well as ISO’s acquisition of all or any portion of any ISO Agent`s interests
in the Merchant Porrf`olio, but the sale by any afliliated party of all or any portion of the
Merchant Portfolio would bc deemed a Transfer.

C. Subjoct to Section 2.3.B., in the cvent ISO desires to effect a Transfer pursuant to a bona
tide offer from a third party, ISO shall first offer to Transfcr its interest in the Merchant
Portfolio to Banlr, upon the same terms and conditions as contained in such third party
offer, by giving written notice thereof to the Bank. Within fifteen (15) days of receipt of
such notice, the Bank shall notify ISO of the Bank's election to implement the Transfcr
on terms and conditions equal to that contained in the bona tide third party offer In the
event that the Bank fails to provide 180 with notice of its intention within Such l.'tReen

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(15) day time period, or in the event that the Bank consents to thc Transfer, ISO mall
have the right to consummate the Transfcr at the prioe, terms and conditions specified in
such notice of often

D. in connection With any sale or assignment of an interest in the Merchant For‘tfolio, 130
Shall first pay all amounts owed to Bank under this Agreement. Adclitiona]ly, Baok, ISO
and the “Designee" (as defined below) shall enter into an Assignmcnt and Assumption
Agreement acceptable to Bank (the “Designoc Assignment and Assumpt;ion
Agreement’). P\u‘ther, Bank may require ISO to maintain a balance in the Reserve
Account as provided below,

Upon completion of the above, Bank agrees to execute and assign the related Merchant
Agreements, Merchant Accounts, funds held in the Merchant Reserve ACCOtmts, and
agreements with any ISO Agents (and any other agreements in Bank’s name related to
the Merchant Program} to the entity designated by ISO to accept assignment from Bank
uf such agreements Bank also agrees to assign all dedicated Ble relating to the
assigned portion of the Merchant Ponfulio to the tinanciul institution and Assoeiation
member designated by ISO to accept assignment thweat` on behalf of 150 ("Designee”).
Upon the termination of this Agreement, and the execution ofthc Designee Assignmcnt
and Assumption Agreement, all rights and liabilities under the Merchant l’rogram,
including the all Merchant Agt'¢emeots, Merchant Accounts, funds held in the Merchant
Reserve Accounts, agreements with the ISO Agent:;, and the BINs, shall continue to be
fully vested in ISO. Bank shall execute and deliver any assignments, bills of sale and
other documents necessary to assign all OfBzmlc`s right, title, interest, and liabilities in
the Merchant ngram, including the Merchant Agreements, Merchant Accounts, funds
held in the Merchant Reserve Accounts, and agreements with the ISO Agents (and
related agreements} and the BINS to the Designee. Notwithstanding thc ft.)t's'gt.)i.ngx Bank
and lSO agree that Bank may require ISO to maintain a Reserve Account as provided
belnw.

[lntentionally Left Blaok.|_

lnsurance and Contjnuity Plan. ISO will maintain standard worker’s compensation and
general liability insurance consistent with industry standards and will provide proof of such
insurance upon written request 180 will maintain a disaster recovery and contingency plan
that meets or Cxcceds applicable bank regulatory and Assoclation requirements 130 will
deliver a copy of such plan to Bank upon request li` the plan does not meet such
requirements or if a bank regulatory agency requires changes to such plan7 ISO agrees to
promptly make such changes

Reserve Accouot.

A. Fu_ng_t_g` g of Reserve Account At the lime provided in the BofA Assignment and
Assumption Agreement {as defined helow], ISO will establish a Reserve Account to
fund the payment of Losscs by transferring $650,000 from ISO’s existing reserve
account currently held at Bank of Ammca, N.A. ("'BofA").

B. The Reserve Amount will bc reviewed annually and shall be maintained in an amount

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equal to thc greater of (i} 5650,000, or (ii) the preceding calendar month’s twentth
Sales Volume, multiplied by seven (‘?} basis points (the “Reserve Amount Minimum”),
but in no event shall the reserve amount exceed $1,000,000. lf the Reserve Amount
falls below the Reserve Ammount Minimum, then ISO shall within five ($) business
days fund the Reseer Account up to the Reserve Arnount Minirnum. lf the review
indicates that the current Reserve Amount is greater than the Reserve Account
Mim'mum, then Bank shall permit ISO to withdraw funds from the Reserve Account in
excess of the Reserve Amount Minimum. 180 agrees than in the event that 180 fails to
make a deposit into the Reserve Account as required by this subparagraph Bank may
debit the required amount from then-current or future ISO Revenue, or then-current or
future funds in the 130 Opetating Aocoum, or the ISO Clearing Account and deposit it
into the Reserve Account

C. Upon the expiration or termination of this Agreement, Bank may retain in the Reserve
Account a sum equal to two (2) times the aggregate Merchant losses suffered during the
six (6) month period occurring prior to the expiration_or termination of this Agreement.
Such amount will be funded by ISO via then-current or future ISO Revenue, or then-
ourrent or future hinds in the Reserve Account, the ISO Opcrating Anoount, thc ISO
Cl¢aring Account, and additional deposit of funds, or a combination of any of the
foregoing

D. The Reserve Account shall remain domiciled at Bank throughout the term of this
Agreement, including any extensions and renewals heroof, and for a period of six (6)
full calendar months following the expiration or earlier termination of this Agreement
lf, at thc end of such six-month period, any Chargebaclcs or other Losses remain
pcnding, Bank may retain an amount equal to two (2) times such pending amounts. Any
amounts remaining auer the resolution of such items shall be returned to ISO_

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2.7 Existing Portfolio.

A. 'l`ransfer of §INS. lmmediately following execution of this Agreement, for purposes ot`
facilitating the assignment of the Exjsting Portfolio to Bank, ISO shall initiate and he
responsible for the transfer of the BINS from Bank of America,N .A. to Bank with
respect to the Existing Portfolio. To that end, 130 shall be responsible for providing any
and all information documents or materials as may be necessary to transfer the BINS for
the Existing Portfolio and for addressing any information requests from Visa or
MasterCard. Upon wmpletion Of Such wanst to B&ttl(, including without limitation
approval by Visa and MasterCard, such BINS shall be dedicated for lS()‘s use

B. ISD represents and warrants that a tme and correct list of Merchants for whom ISO is
providing Traosaction processing and settlement services for Carcl transactions ,has
been provided to Bank on a CD-ROM. Such CD-RGM will be updated and delivered by
Bank to ISO upon Bank"s request

C. 180 represents and warrants that, except as disclosed by ISO and approved by Bank,
none of the Merchants in thc Existing Portfolio operate in the unacceptable industries
outlined in the Credit Guid€lines.

D. ISO represents and warrants that, subject to the execution and delivery of the BofA
Assignment and Assumption Agreement by Bank and BofA., it has the cwnership,
authority and right to assign and transfer the Merchant Agreements, merchant accounts
and merchant reserves for the Exisl_ing Merchants in the Exisl;`tng Portfolio to Bank_

E. lmmediately following the EFl`ect't\/e Date of this Agreement, 180 shall arrange for and
effectuate the assignment and transfer of the Card processing agreements (merchant
agreements}, merchant acoounts, merchant reserve f`unds, letter of credit. bond,
insurance policy, guaranty and all other collateral with respect to the Existing Portfolio,
and the agreements with the Existing Agent Banks and the Existing Sales Groups. Such
transfer shall be accomplished through the execution of an assignment and assumption
agreement between Bank and BofA (the “BofA Asst`gnment and Assmnption
Agreement”). The BofA Assigmnent and Assumption Agreement shall contain terms
typical of such a transaction and satisfactory to thc parties_

F. Bank acknowledges that it has received forms of merchant agreements which are in use
with the Merchants in the Existt`ng Portfolio from ISO, which forms are acceptable to
Bank. ISD has a signed Merchant Agreement from each of im E.Xisting Merchants and
shall provide Bank With remote access to the executed copies Of such Merchant
Agreements.

G. ISO represents and warrants that its merchant processing business with respect to the
Existing Port[olio has in all material respects been operated in compliance with all
applicable laws, orders, regulatioos, policies and guidelines of all governmental entities
and all Association Rules, including all underwriting and monitoring procedures

H. Bank will not be responsible in any manner with respect to any Card transaction of an
Existing Merchant with aprocessing date before the Conversion Date. The parties

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acknowledge that certain of the E)tisting Merchants have agreements that have been
terminated or have expired prior to Convorsion, and as such, are no longer processing
and settling Transactions ("Inactive Merchants"]. The Merchant Reserve Accounts for
such lnaotive Merchants shall be transferred to Bank upon Conversion and lSO shall be
responsible for any and all Loss»es for such lnactivc Merchants after the Convcrsion
Date.

Credit Guidelines. ISO has the right to change the Credit Guidelines from time to time,
and shall provide any now Credit Guidelines to Bank for approval prior to implementation
Approval of changes to the Credit Guidelines shall be effective upon the providing of
written approval to ISO by Baok, with such approval not to be unreasonably withheld or
delayed

ll]. Bank Responsibilities
Bank Respoosibilitics.
A. ]Intentioo.allg Lef`t Blank|

B. Membershig. Bank will remain a member of the Assooiations and serve as the
Acquin`ng Bank or Acqutring Member las that term is defined in the Rules) for those
Merchants who enter into Merchant Agreements including, without limitationq by
maintaining necessary capital requirements: and obtaining and providing for the use and
benefit of ISO the Ble and ICAs necessary for clearing and settlement of Merchant
credit and debit card and related Trunsactions for the Merchant Progmm.

C. Sgonsor§hjg. Bank will sponsor ISO and any qualified ISO Aff"lliates into the
Associatioos, as independent sales organizatit)m, member service providers and into any
other Association program for which sponsorship is required Bank shall also sponsor
ISO Agcnts designated by ISO and approved by Bank as independent sales
organizations into Visa and member service providers into MasterCard, and shall, upon
ISO’$ request, provide such ISO Agenls with separate, dedicated BINS. Any ISO
Ag¢nis must be approved in writing by Bank, which approval will not be unreasonably
withheld If approved by Bank, ISO Agents must be registered with due Associations in
accordance with the Rules and enter into contractual agreements with Bank as required
by Bank. lSO shall be responsible for monitoring the activities of all ISO Agents to
ensure compliance with the Rules, ISO will direcL manage conduct, administer and
enforce the agreements entered into by with Bank as to ISO Agents and, as to Bank,
shall be responsible and liable for thc acts and omissions of all 180 Agcnts and
merchants of thc ISO Agenls.

D. Merch);m Agreemcots. Bank will approve the form 01` the Merchant Agreement to be
used by ISO, Bank may terminate anyr Merchant Agreement pursuant to the terms of the
Merchant Agreement or the Rules by noti firing ISO, which will notify the relevant
Merchant

E. B]N and §ettl§;h§n;. Bank will establish and maintain a dedicated BI`N and ICA for
ISO. Bank will, at ISO’s roquest, provide additional 13le at ISO`s expense upon ISO’S

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request Bank will cooperate with ISO and 'Ihird Party Providers regarding Chargebacl<
proceedings Bank will provide 150 with all rebates provided by Associations in
connection to the BIN. All matters regarding the BIN will be directly referred to IS{).
Bank will also reasonably support 180 in Association issues regarding the Bl't\'.

P. B_gpg;t§. Bank will provide to lSO, within 2 business days after receipt by Bank, all
BIN processing reports received from Associations and any additional data related to
this Agreement requested by ISO. ISO will provide to Bank any data required to be
submitted back to the Assoeiations within 5 business days ofreoeipt of Bank’s written
or oral notice therefor

G, Acguisitions. Bank acknowledges that lSO may, from lime to time, acquire the stock Ot'
assets of other entities that provide processing services for memhants. lo addition, it is
acknowledged by Bank and ISO that, if requested by ISO, Bank will provide the
services contemplated under this Agreement to such acquired merchants so long as Such
acquisition does not materially change the business or risk profile of 180 as defined by
the Merchants serviced under this Agreement. Bank’s approval for such acquisitions
will be completed through the signing of documentation acceptable to Bank regarding
the provision of processing services for the acquired business, including, without
limitation the right Of Bank to reimbursement from ISO for any mailing Chargeback
liability

Third Party Audits. Each party will notify the other party as soon as practicable of any
formal request by a governmental agency or Association to talk with such entity related to
this Agreement, examine the records pertaining to duties, responsibilities and obligations
under this Agreement or conduct a site visit, at ISO’s expense

Losses. All bosses incurred by Bank for any reason will be borne by ISO, including but not
limited to 100% of any amount incurred by Banlc arising out of ISO’s or any lS{TJl sales
representatives’ negligence or fraud 130 will notify Bank immediately of any information
concerning any Merchant or any transaction that would indicate that Bank may incur a Loss.
Each month Bank shall deduct the amount of any Loss incurred the previous month from
ISO Revenue. If the amount of the I_nss exceeds the amount of the 130 Revenue, Bank shall
have the right to deduct the amount of the Loss from the 130 Operatjng Account, the
Reserve Account, the ISO Clearing Account. ln additioo, Bank shall have the right to set
off any unpaid Loss from any future 150 Revenue, or future amounts in the 150 Opeteting
Account, the Reserve Account, and the ISUl Clearing Account. Reimbursement of all
Losses is, in addition to any others, a precondition of any transfer of any part of tile
Merchant Portfolio or any related processing

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I`V. Fees, Charges and Securit}' lnterest

Bank Fees. ISO will pay to Bank the fees set forth on E§lgibig A. Bank is authorized to
debit the 130 Operau'ng Account for these amounts_ Amounts debited shall equal at least
the fees associated with the Minim\ml A.nnual Sales Volume set forth nn Exhibjl A (i.c.. If
the Minimum Annual Sales Volume specified in E§|gjbig g is not met, within ninety (90)
days after the end of each year Bank will invoice 150 for the amount, if any` by which the
transaction fees associated with the Miuimum Annual Sales Volume exceed the actual
transaction fees which were paid by ISO to Bank for such ycar. rI“he other fees listed on
Exhibit A arc in addition to thc transaction fees associated with the Mim`mum Annual Sales
Volurne

Associaticn Fces and Assessments. ISO is responsible for all Association fees related to
its or its sales agean registration9 and thc establishment and maintenance of the Bl]~ls and
ICAS and Assessmenl.s.

Conversion Costs. ISO will pay 10 Bank any conversion costs incurred by Bank to convert
existing merchants of ISO into the Merchant Pro grain Notwithslanding the foregoing1 Bank
shall bc responsible for such conversion costs in the event (l) Bank’s mcmbcrslup in either
Associalion is Ierminatcd, or (2) this Agreement is terminated by lSO by virtue of an
uncurod breach by Bank.

B[N Funcls. Al| income and expenses attributable through the BIN, including but not
limited to Recovered Funds, Chargeback income, Retn`cval income, interchange income,
debits and credits will derive to the benth Of IS(}.

Security Ioterest; Set Ofl'.

A. Q__an_t. As security for the obligations of 130 to Banlc, or amounts owing from ISO to
Bank_. 130 grants Bank a Erst priority security interest in all ofits right, title and interest,
whether now owned or existing or hereafter created, acquired cr arising, in, to and under the
ISO Revenue_. the Reserve Account, the ISO Opcrating Account, the Merchant Suspense
Account, and the 150 Clearing Accounr, including without lnnitadom present and future
hands comprising the foregoing

B. Pcrfectign gil ReLcase. 150 authorizes for filings to pcrfect, maintain and enforce
Bank’s security intercst. If any account is established at another depositary institution, then
ISO will require such depository institution to enter into a control agreement in favor of
Bank regarding thc account. Upon termination of this Agreement, if ISO is not in default
under this Agreement and (i) all sums then Owingto Bank have been paid in full and (ii) the
Reserve Account contains the amount specified in Scction 2.6(¢); or if in Bank’s reasonable
opinion, all such liability has been transferred to a subsequent acquiring baok, then Bank
will promptly release its security interest in the above'named accounts.

C. Set Off. The ISO Operating Account {including, without limitation, the lSO Revcnuc),
the ISO Clcaring Account, and the Reserve Account shall be subject to Bank`s right to set
off any claims Bank has against ISO, whether absolute or contingent under this Agreement.

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V. Association chuirements

Potential Fines. Bank will, within 5 business days after receipt of noticc, notify 180 in
writing of any notices. warnings or impending fines by any Associatjon attributable to ISO
or a Merchant Bank will immediately notify ISO if any fines are imposed on lSO OI its
Merchants. ISO will reimburse Bank within lObusincss days of a irl/al determination for
any actual fines (othcr than those arising out of Bank" s breach of its obligations under this
Agreement or Bank’s negligence or willful misconduct} imposed upon Bank.

Rules. ISO received understands, and agrees to comply with all applicable Rules. In the
event of any inconsistency between this Agreement and any Rulcs, the Rules will apply_
lSO will comply with all applicable Rules and Association Socurity Programs. ISO
acknowledges that MasterCard and Visa have the right to enforce any provision of the Rules
and to prohibit IS() conduct that creates a risk of injury to the Associations or that may
adverser affect the integrity or reputation ofthc Associations’ or Bank’s systems,
information or both. ISO agrees to monitor its portfolio via means such as a “web crawler”
service (c.g., GZ, or such other mutually agreeable service), with such service being
obtained through a third party or through Bank, in either case at ISO’s expense

Opcrations. On an ongoing basis, ISO will promptly provide Bank with the current address
of each of its ot`ticcs. 130 acknowledges that all Merchant F ces must he clearly and
conspicuously disclosed to the Merchant in writing prior to any payment or application and
agrees to so disclose such fces..

luformation. ISO will provide requested Merchant information to the Associations within
5 days of the request

Rule Enforcemcnt. ISO acknowledges that the Associations have the right to enforce anyl
provision of the Rules and to prohibit any lSO conth that may injure or create a risk of
injury to the Associations, mcludjng injury to reputation or that may adversely affect the
integrity of the Associations’ and Bank’s cort payment systems, infomtation, or both. ISO
will not take any action that might interfere with or prevent exercise of this right.

VI. Representations, Warrauties, Coniidcntiality.
Non-Snlicitation and Indemnificatioo

Representatinns and Warranties. Each party represents and warrants to the other that

A. §§oQ §tandi_igg' . ISO is a business entity authorized validly existing and in good standing
under the laws of thc State indicated in the opening paragraph Bank is duly chartered
and validly existing as a national banking association with full power and authority to
carry on its banking business as now conducted ’l`his Agreement represents a valid
obligation of that party and is fully enforceable against it according to its tcrms.

B. Pull Au§hog`],'y_'. lt has full authority and power to enter into this Agreement and to
perform its obligations under this Agreement.

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C. No Violation_ Its performance oftliis Agreement will not violate, w the best of its
knowledge, any applicable law or regulation or any agreement to which it may now or
hereafter be bound It will comply with the terms of this Agreement, with the Rules._ and
with all applicable state and federal laws and regulations.

6.2 Cnnfiden tialily.

A. l_l_s_e;. lSO and Bank each agree that it will retain in confidence thc Contidential
Int`orrnation and all information and data belonging to or relating to the business of the
other party including without limitation aggregate information regarding Merchants or
specific information related to Merchants (which the parties acknowledge belongs to
ISO), and that each party Will safeguard such information and data by using the same
degree of care and discretion that it uses to protect its own Con_l'identia| Infonnation. No
pany will use the other party’s Conlidcntial lnformacion for its own benefit other than
for thc purposes contemplated by this Agreement, nor will it allow any third party to usc
such information other than third parties with a need to know pursuant to this
Agreement. 130 will limit access to the MasterCard and Visa systems to those 150
employees it deems necessary to perform its responsibilities under this Agreement. ISO
will use MasterCard and Visa information identified or reasonably understood no be
confidential or propriewa soler to perform its duties on behalf Of this Agreement ISO
and Bank will implement reasonable and appropriate safeguards to prevent unauthorized
access to such systems and to the other parry’s Confidential Informav`on.

B. Disclosune. Prior lo the disclosure of any Conlidential Informaiion to third pmi€S~
recipient of Coniidential information {“Recipient") will obtain a written agreement from
any such third party,f (i) to hold all Confldeno'al information in confidence and not use it
for any purpose not expressly consented to by the disclosing pa.rty; and (ii) to return all
Confidential information immediately after the third perry has completed the work for
which the Confidential Information was disclosed

C. Return o oniidential o ation. Upon termination of this Agreement, the Recipicnl
shall promptly deliver to the disclosing party of Com'idential Information (“Disclosing
Party”) all Cont`tdcnlial lnformation in its possession or under its Control or,
alternatively, shall destroy the Disclosi.ng Party’s Confidentiai lnformation and certify to
such desuuction.; provided1 however, that that Conlidenn`a] lnformation required by
auditors, die Rulcs, or regulatth to be retained may be retained by the Recipicnt.

D. Non-Protectod lnformat'ion. The parties will have no obligations cf confidentiality fort
(i) information which at the time of disclosure is in the public donmin; (ii) information
which after thc time of disclosure becomes part ofthe public domain through no fault of
the disclosee, but only ritter and to thc extent that such information is published; (iii)
information which is disclosed by a third party having legitimate possession and the
unrestricted right to make such disclosure; [iv) information that Such party can
demonstrate to have been in its legitimate possession prior to the disclosure of the
Confidential Informatio n; {t') information required to be disclosed by law, subpoena or
court ordor, provided, however, that the receiving party shall promptly inform the
disclosing party of the operation of this Scction to enable the disclosing party to defend
nondisclosure of its Contidontial Informatioo.

 

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F.. do L`icensc. Notln'ng in this Section shall be construed to convey to the Rccipicnt any
right, title or interest or copyright in any Contidcntial lnformation, or any license to usc,
sell, exploit, copy or further develop any such Confidential lnt`onnation, except use ot'
Conl:idential Informan'on is petmitted if necessary by Recipierit to complyr with this
A greementl

Non~Solicitation. During the tenn of this Agreement and for a period of 6 months
tharea&er, neither Bank nor ISO or any of their Afiiliates shall solicit, refer or enter into a
contract with employees of the other Without the express prior written consent of the other.
During thc tenn of this Agreement and for a period of 18 months thereafler, Bank shall not
knowingly solicit or refer Morchants or registered independent sales organizations of ISO or
enter into contracts with them, without the prior Written consent of ISO, and 150 shall not
directly solicit or refer merchants or sales agents of Bank or enter into contracts with them,
without the prior written consent ofBank. This prohibition shall not preclude general
solicitations or inquiries by a party or such parq."s agent banks or other independent sales
organizations, or referrals to such party by third partiesl ln the event of default by ISO or
the hood for Bank lo sell, transfer or assign some or all ot'thc Merchant Agreements to
satisfy ISO`s obligations to Bank, ISO and any A_i'iiliate of ISO or any entity owned or
operated by the principals, ofl'iccm, directors or shareholders of ISO or its A£f_'iliates agree
during the period Bank is recovering amounts due Bank, not to solicit or refer Merchants or
sales agents or enter into contracts or arrangements therewith or requ ting in compensation
therefrom with respect to the Merchant Agreemean sold, transferred or assigned {including
to Bank) to satisfy ISO’s obligations or pursuant to the security interest granted to Bank
under this Agreement. The economic benefits of any agreements entered into in violation of
this section shall accrue to the benctit of the non-breaching party,

lndemnification.

A. ISO l_riglenmiiicatiog. 150 will indemnify and hold Bank harmless from and against all
Losses that result from or arise out of (other than those resulting out of Bank’s breach of
its obligations under this Agreement or Bank’s negligence or Willful misconduct}: (i) the
pcrformancc, or failure to perfonn, by any Merchanl, Third Party Provider or ISO, any
obligation under the Merchant Agreement or this Agreem ent', and (ii) the violation by
ISO of any law or Rulc in connection with its performance of, or failure to perform_. its
obligations under this Agreement. ISO‘s obligation to indemnify Bank will survive for a
period of 3 years following the expiration or termination of this Agreement by either
party for any reason

B. Ban.lc Indcrnniiication. Bank will indemnify and hold lSO harmless from and against all
Losses that result from or arise out of (other than those resulting out of ISO‘s breach of
its obligations under this Agreement or lSO’s negligence or willful miscondnct)'. (i)
Bank’s pcrformance, or failure to perform any obligation under this Agmcmcnt; or (ii)
the violation by Bank of any law or Rule in connoclion with its performance of', or
failure to perform, its obligations under this Agreement. Bank’s obligation to indemnify
ISO will survive for a period of 3 years following the expiration or termination of this
Agreement by either party for any reason

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C.

EEcedurc. Eaeh party will promptly notify the other of any claim, demand, suitor threat
of suit of which that party becomes aware which may give rise to a right of
indemnification under this Agreement Both parties will cooperate in the prosecution of
such suit. The indemnifying party will be entitled to participate in the settlement or
defense of anyr such suit.

VII. Term, Terminution, Default

Term, This Agreement Will become effective on the Ellective Datc, and will remain in
effect for ai period of 3 years from the Effcctive Date (“lnitial Term”). This Agreement will
automatically renew for 2 year period (“First Renewal Term”}, and then For l year periods
(“Additional chewal Term") unless terminated earlier in accordance with the provisions of
this Agreement.

Termiuation. Notwithstanding thc above, the parties will have the following rights.

A.

Automatic Terxnination. This Agreement will automatically terminate if: (i) Visa or
MasterCard prohibits 180 from providing, or prohibits Banlc from allowing ISO to
provide, the services set forth in this Agreement; or (ii) Visa or MasterCard cancels
Bank's Assoctation membership

Tennjoation Without CauSc. Afler the end of the Initial Term OI any R entrqu Term_.
Bank may terminate this Agreement with or without cause upon at least 180 days prior
written notice to lSO. ISO may terminate this Agreement with or without cause at the
end of the Inin`al Term or any Reocwal '1` arm {i) upon 90 days prior written notice to
Bank; or ll{ii) if iSO sells ali Merchant Agreements to a third party in accordance with
this Agreement, upon Bank’s assignment of such Merchant Agreements to ISO’s
designee

. T§Mation For Causc. A party may terminate this Agreement upon the occurrence ol`

an Event ocht'ault by the other pany. ln the event that Bank tenninates this Agreement
for cause, ISO agrees to pay Bank a tem\ination fee equal to the greater of (i) the
average monthly sponsorship and underwriting fees paid to Bank at the time of
tetmination, or [ii} thc minimum annual fees at the time of termination set forth on
Exhibit A. The foregoing fee is an expression of liquidated damages, and not a penalty.
but shall not be construed to modify any of Bank’s other rights in the event of Bank’s
termination of thc Agreement for cause.

Default Eaeh ofthe following occurrences will constitute an Event ofDefnult under this
Agreement

A.

Nonpay;nent. Either party fails to pay the other when due any \mdisputed amount due
under this Agreement and such failure continues for a period of 30 days after written and
oral notice has been sent to thc non-paying party,

Pinancial Lgsmbility. Eithcr party: [i} liles for banlauptcy, reoeivership, insolvency,
reorganization, dissolution, liquidation or any similar proceedingl (ii) has such a
proceeding instituted against it and such proceeding is not dismissed within 60 days, (iii)

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makes an assignment for the benefit of its creditors or an offer of settlement, extension
or composition to its creditors generally; or (iv} a trustee, consorvator, receiver or
similar fiduciary is appointed for that party or substantially all of that party’s assets

C. Breach. Either patty fails to obsm'e any material obligation specified in this Agreement
or the Rulcs. and such failure is nor cured within 60 days of receipt of written notice
from the non-breaching party.

VI[I. Names and Trademarks; lntellectual Property

Names. Neither party will usc the ot.her’s name in any promotional or written or electronic
marketing materials, nor will it promote the other’s programs in any way, thhout the
other’s written consent Bank agrees to allow ISO to use the oame, logo and specified
trademarks of Bank solely in connection with the Merchant Program as required under the
Rules, such as on Merchant Agmetnents, provided that any such other use shall require the
prior written approval of Bank, such approval not to be unreasonany withheld or delayed
and consistent with any Bank usage guidelines If such approval is grantod, 130 may utilize
such nnmes, logos or marks with Banlc’s approval of such materials This use terminates
upon termination of this Agreement.

MasterCard and Visa Trademarks. ISO acknowledges that MasterCard and Visa are the
sole owners cf their trademarks ISO will not contest the ownership of such marks, and
MasterCard or Visa may at any time and immediately without advance notice prohibit 150
from using its marks for any reason

lntellcetual Property Rights. ISO shall he the sole and exclusive owner of all right, title
and interest (including, thhout limitation, all Intellectual Propert}' Rights) in and to the
Vimas System. Nothing in this Agreement shall be deemed to grant to one party, by
implication, estoppel or otherwise license rights, ownership rights or any otherlntcllectual
Property Rights in any materials owned by the other party or any At`filiatc of the other Party,

IX. Geocral

Assignment. lSO may not assign its rights under this Agreement to any third party without
Bank's prior written eonsent. which consent may not bc unreasonably withheld, and any
attempted assignment without such consent shall be void. Notwithstandingany such
assignment, delegation or subcontract 180 shall remain jointly and severally liable with the
assignee for all of its obligations under this Agreement which are so assigned, delegated or
subcontracted

Notice. All communications under this Agreement will be in writing, sent via overnight
deliveryJ and will be deemed received as evidenced by a signature from 180 or Bank. Such
communication will be sent to the following

tr to rso~. CYNERGY nara
45 w 36‘” street 6'*‘ nom
New Yetlr,NY roots
Attn; Marcelo Paladini

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Fux'. 212-594-?245

E-Mail: mercelop@cynergydara.net
[fto Bank: Hmis, NA.

150 N, Martingale Rd., Suite 900

Schaumburg, ll. 601?3

Fax: 847.240.6$83

The parties may, from time to tim€:, designate diH`ereiit persons or addresses to Wh.`ich
subsequent communications will be sent by sending a notice of such designations in
accordance with this Section¢

Eotire Understanding and Amcndment. This Agreement, including the attached Exhibits
which are incorporated by reference sets forth the entire understanding ofthe parties
relating to its subject mancr, and all other understandings, written or oral, are superseded
Except as otherwise provided in this Agreement, thi s Agreement may not be amended
except in writing executed by both parties.

Severnhility. If any provision of this Agreement is illegal, the invalidity of such provision
will not affect any of the remaining provisions, and this Agreement will be construed as if
chc illegal provision is not contained in die Agreement. This Agreement will be deemed
modified to the extent necessary to render enforceable its provisions, and to comply with the
Rules.

No Waiver of flightsh No failure or delay on the part of any party in exercising any right
under this Agreement will operate as a waiver of that right7 nor will any single or partial
exercise of any right preclude any further exercise of that right

Successors and Assigns. T his Agreement will inure to the benefit of and will be binding
upon the parties and their respective permitted successors and assigns.

Applicable Law. The Agreement will be deemed to be a contract made under the laws of
the State of Illinois, and will be construed in accordance with the laws of Illincis without
regard to principles of conflicts of lavin

Independent Coutracturs. Bank and ISO will bc deemed to be independent contractors and
will not be considered to be agcnt, servam, joint venturer or partner of the othcri

Construction. The headings used in this Agreement are inserted for convenience only and
will not affect the interpretation of any provision All sections mentioned in the Agreement
reference section numbers of this Agreement. The language used will be deemed to be the
language chosen by the parties to express their mutual intent, and no rule district
construction Will be applied against any party.

Force Majeure. Neither party will be liable 10 the other for any failure or delay in its

performance of this Agreement in accordance with its terms if such failure or delay arises
out of causes beyond the control and without the fault or negligence of such parry.

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9.11 Attorney’s Fees. lf any count finds that a party has breached this Agreement, then the non'
defaulting party will be entitled tc recover from the breaching party expenses incurred in
enforcing the provisions of this Agreement, including but not limited to reasonable
attorneys' fees and costa

9.12 limitation of liability. ln no event shall either party, their respective All'rliates or any of
their respective directors, oft`lcers, cmployees, agents or subcontractors, be liable under any
theory of tort, contract7 strict liability or other legal theory for lost prohts, lost revenues, lost
business opportunities, exemplary, punitivc, special, inc idental, indirect ur consequential
damages, each of which is excluded by agreement of the parties, regardless of whether the
damages were foreseeable or whether any party er any entity has been a 'iscd of the
possibility of the damages. This limitation of liability shall not apply tc, and is no way
intended w or limit or relieve ISO’s obligations with respect to any liability of ISO related
to misconduct, fraud, failure 10 pay Bank’s fees or other costs described on Exhibit A` any
losses under the Merchant Agreements and»‘or Merchant activities or as otherwise set forth
in this Agreement.

9.]3 Waiver of Jury Triai. BANL AND ISO HER£BY WAivr-_ ANY RIGHT TO A TttIAL sr iuRY Ir~'
mw ACTION CONCERNING ANY RIGHTS 011 t)lst'trrr».s UNDER THIS AGm-;EMF.NT. BANK AND
ISO AGRBE THAT, FOR PLIRPOS ES OF ACTIONS BRouG H'r BY BANK OF. MQNF.Rls SOLU'HONS,
INC., JURISDICTION AND VENUE SHALL Bl-_' ll\° AN\’ STATE OR PED£RAL COURT LOCATE.D IN THE
sTATE AND COUNTY t)r NF,w YORK , AND,FOR PthOsEs OF Actioz~ts BROUGHT BY ISO,
Jukismcrlot~’ AND virtue sHALLBE nw ANY cot;RT LOCAT£D m cOOK COU!~HY, ILLrNOrs_

9.14 Survival. All agreements that by their context are intended to survive the termination of this

Agreement, including without limitation, 2.2, 2.3, 2.6, 3.3, 4.1, 4.2, 4.5, 4_6, 4.6, 5,1, and
males Vl and IX).

CYNERGY DATA, LLC HARRIS N.A.. a national banking association

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EXHIBIT B

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Aprii gi_§S_, 2009

Harris N.A.

150 N. Martingale Road
Suite 900

Schaumburg, illinois 60173

Re: Cynergy Data, LLC
Ladies and Gentletnen:

Referencc is made to (a) that certain Amended and Restated Credit Agreement {“Cynergy
Credit Agreement”) dated August l, 2008, as amended, among Cynergy Data, LLC (“lSO”), the
lenders party to the Cynergy Credit Agreement from time to time (“Cynergy Banks”) and
Comerica Bank, as Agent for the Cynergy Banks (in such capacity, the “Cyncrgy Agent”), that
certain Secnrity Agreement dated April 16, 2007, as amended, by ISO and its subsidiaries in
favor of the Cynergy Agent for the benefit of the Cynergy Banks (_“Cynergy Secnrity
Agreement”), that certain Guaranty (“Guaranty”) by ISO of all liabilities and obligations of
Cynergy Prosperity Plns, LLC arising under and in connection with that certain Credit
Agreement (“Prosperity Credit Agreement”} dated September 20, 2007, as amended, among
Cynergy Prosperity I’tus, LLC, the lenders party to the Prosperity Credit Agreement from time to
time (“Prosperity Banks”) and Comerica Bank, as Agent for the Prosperity Banks (in such
capacity, the “Prosperity Agent”), that certain Security Agreement dated September 20, 2007, as
amended by ISO in favor of the Prosperity Agent for the benefit of the prosperity Banks
({"Prospcrity Security Agreement”), that certain Financing Agreement dated November 15, 2007
(“Dyrnas Finaneing Agreement”), as ai:nended1 among ISO, the lenders party to the Dymas
Financing Agreement from time to time (“Dymas Banks” and together with the Cynergy Banks
and the Prosperity Banks, collectively the “Banks” and individually eacn, a “Bank”) and Dymas
Funding Company, LLC, as Agent for the Dymas Banks (in such capacity, the “Dymas Agent”
and together with the Cynergy Agent and the Prosperity A,gent, collectively the “Agents” and
individually each, an “Agent”), that certain Sccurity Agreement dated November l5, 200?, as
amended, by iSO and its subsidiaries in favor of the Dymas Agent for the benefit of the Dymas
Banl<s (“Dymas Security Agreement” and together With the Cynergy Credit Agreement, the
Prospcrity Credit Agreement, the Cynergy Security Agreement, the Guaranty, the Prospcrity
Security Agreement and the Dymas Financing Agreement, the "Bank Group Agreements”) and
(b) that certain BIN Sponsor Agreement dated as of November l, 2008, (as amended or modified
from time to time, the “MSA”) by and between Harris N.A. (“Proccssor”) and iSO. Ali
capitalized terms not otherwise defined in this letter Will have the meanings ascribed in the MSA.

Security Interests. Pursuant to the Bank Group Agreements, lSO has granted a security
interest in all of its assets in favor of Agents for the benth of the Banks (the “Lender
Collateral”') to secure its obligations under the Cynergy Credit Agreement, the Guaranty, the
Dymas Financing Agreement and all other present and future obiigations of lSO to Agents and
the Banks. The Lender Ccllateral ineludes, without iimitation, all of ISO’s rights, title and
interest in and to (a) ali Merchant Agreements, (b) funds held in the Reserve Account, the

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Merchant Suspcnse Account, the lSO Opernting Account and the lSO Clearing Account and all
lSO Revenne and (c') all ISO Revenue (lSO’s rights, title and interest in and to the Merchant
Agreements, the Reserve Account, the Merchant Suspense Account, the lSO Operating Account,
the lSO Clearing Account and the lSO Revenuc are collectively referred to as the “Merchant
Services Collateral”), Processor understands that the Agents shall have a first priority security
interest in favor of the Agents in the Lender Collatcral (“Lender First Priority Lien”), subject to
Processor’s interest in the Merchant Services Collateral as set forth in this Agreement.

Agents understand that, pursuant to the MSA, lSO intends to grant a perfected first
priority security interest in favor of Processor (the “Processor Lien”) in the Merchant Services
Collateral.

processor acknowledges and consents to the existence of the Lender l~`irst Priority Lien.
Each Agent acknowledges and consents to the existence of the Processor Lien. Each Agcnt
acknowledges that any lien such Agent may have in the Merchant Scrvices Collateral (other than
the Lendcr First Priority Lien on the lSO’s rights in the Merchant Agreements) shall be
subordinate and junior to the Processor Lien in the Merchant Services Collateral as provided in
this Agreement to the extent of the ,First Priority Obligations. “First Priority Obligations” shall
mean all obligations of lSO owing to Processor under the provisions of paragraphs 3.3, 4.1 and
42 of the MSA; provided however in no event shall the First Priority Obligations include any
Losses which are not Merchant Losses.

Procceds. Any proceeds received by the Agents, or either of them, from the enforcement
of their respective security interests in the Merchant Services Collateral shall be applied first to
the First Piiority Obligations until paid in full , then to the obligations of ISO owing to the
Agents and the Banks until paid in full and then to any remaining obligations owing by l,SO to
Processor. Any proceeds received by Processor from the enforcement of its security interest in
the Merchant Services Collatcral or the exercise of any rights of setoff shall be applied first to
the First Priority Obligations until paid in tiill, then to the obligations of ISO owing to thc Agents
end the Banks until paid in full and then to any remaining obligations owing by lSO to
Processor.

Agcnts and Processor agree that this subordination shall be applicable irrespective of the
time or order of attachment, perfection or validity of security interests; the time or order of filing
or recording financing statements; or the time of making any advances or the amount of any
advances madc. The Agents agree that they shall not contest the validity or senior priority of
Processor’s liens and security interest in the Merchant Services Collateral and Processor agrees
that it shall not contest the validity or senior priority of the Agents’ liens and security interests in
any assets of lSO, except to the extent it asserts its senior interest in the Merchant Scrvices
Collateral.

lender Action. Each Agent further agrees that such Agent (a) will not sue for, liquidate
sell, foreclose, setoff, collect, accept a surrender, receive any proceeds, petition, commence or
otherwise initiate any action to realize or seek to realize upon all or any part of the Merchant
Serviccs Collateral (an “Enforcement Action”) at any time prior to (i) the occurrence of en
“event of default” and expiration of any applicable cure period under the applicable Credit

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Agreement (,a "Credit Agreement livth of Default”) and (ii) the date that is 5 days after the
receipt by Processor of a written notice from an Agent describing the Credit Agreement Evcnt of
Default that forms the basis for the proposed Enforcement Action, specifying in reasonable detail
the nature of such Credit Agreement Event of Default during which 30 day period Processor has
the option, but not the obligation of curing such Evenr of Default (which 5 day period may be
shortened by a written agreement of both Processor and the Agents) and (b) will hold any
proceeds of the Merchant Services Collateral received by such Agcnt in connection with an
linforcement Action in trust for Processor and will forward any such proceeds to Processor
promptly upon its receipt of such proceeds until the payment in full in cash the First Priority
Obligations outstanding at such time. Processor agrees that nothing contained herein shall
prevent either Agent or any Bank from exercising any right of setoff with respect to funds on
deposit in lSO’s accounts with such Agent or any Bank, to receive any proceeds paid by
Processor to IS(), or to receive and retain the proceeds of any collateral which does not constitute
a portion of the Merchant Serviccs Coilateral.

Processor Action. Processor agrees that Processor (a) will not commence an Enforcemcnt
Action at any time prior to (i) the occurrence of a default and expiration of any applicable cure
period under the MSA (the “MSA Evcnt of Default") and (ii) the date that is 5 days after the
receipt by the Agents of a written notice from Processor describing the MSA Event of Default
that forms the basis for the proposed Enforcement Action, specifying in reasonable detail the
nature of such MSA Event of Default during which 30 day period each Agent and the respective
Banks have the option, but not the obligation, of curing such Event of Default (which 39 day
period may be shortened by a written agreement of both Processor and the Agcnts) and (b) will
remit to the Agents any proceeds received by Processor in connection with an Enforcernent
Action in excess of the proceeds necessary to pay in full in cash the amount of First Priorit'y
Obligations outstanding at such time. Each Agent agrees that nothing contained herein shall
prevent Processor from exercising any rights of setoff with respect to and up to the amounts
specified in the First Pn'ority Obligations; provided, however, that nothing contained herein shall
as between lSO and Processor impair Processor’s right of setoff with respect to any such excess
amounts following payment in full of all obligations of ISO to the Agents and the Banks under
the Credit Agrccmcnni.

Cooperation. Sebject to the limitations on the Agcnts’ and Processor’s rights set forth
hercin, (a) each Agent and Processor further agree that each party will have the right to exercise
and enforce all rights and privileges with respect to the Merchant Services Collateral and Lendcr
Collateral according to the exercise of its business judgment, including, without limitation, the
right to foreclose on, sell, liquidate or otherwise dispose of the Merchant Services Collateral or
Lender Collateral, (b) each Agent agrees to use its reasonable efforts to cooperate with Processor
in the exercise of Processor’s rights with respect to the Merchant Services Collateral and to take
all actions reasonably requested by Processor to enable Processor to enforce its rights with
respect to the Merchant Services Collateral, including the release of such Agent’s lien on the
Merchant Services Collatoral in the event that such collateral is sold or otherwise transferred to a
third party, (c) Processor agrees to use its reasonable efforts to cooperate with each Agent in the
exercise of such Agont’s rights with respect to the Lender Collateral and to take ali actions
reasonably requested by an Agent to enable such Agent to enforce its rights with respect to the
tender Collateral, including the release of Processor’s lien on the lender Collatcral in the event

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that such collateral is sold or otherwise transferred to a third party, (d) each party agrees that no
rights of Processor or the Agents to enforce the subordinations provided herein shall at any time
in any way be prejudiced or impaired by any act, or failure to act, by Processor or either Agent
{or any Bank), or by any noncompliance by lSO with the terms and provisions in the Bank
Group Agreements or the MSA. Eaeh party agrees not to take any action to avoid or to seek to
avoid the observance and performance of the terms and conditions hereof, and shall at all times
in good faith carry out all such terms and conditions and take all such actions as may be
necessary or appropriate to protect the other party against impairment

Misecllanegg;§. By signing below the Agents, Processor and 180 each acknowledge and
consent to this arrangement the terms set forth here and the instructions contained in this letter
agreement

lS() agrees that this letter agreement and the contents hereof shall not be disclosed by
lSO to any person not a party hereto without the prior written consent of Processor and the
Agents, other than to ISO’s attorneys and accountants, to the extent necessary in lSO’s
reasonable judgment

'I`HE PAR'I`IES ACKNOWLEDGE THAT THE R,IGH'I` TO TRIAL BY JURY IS A
CONSTITUT!ONAL ONB, BUT THA'I` IT MAY BE WAIVED. EACH PARTY, AF'I`ER
CONSULTING (OR HAVING HAD THE OPPORTUNlTY 'l`O CONSULT) WITH COUNSEL
OF lTS CHOICE, KNOWINGLY AND V()LUNTAR_ILY, AND FOR THE PARTIES’
MUTUAL BENEFIT, WAIVES ANY R_[GHT TO "l`RIAL BY JURY IN THE EVENT OF
LlTlGATlON REGARDING THE ?ERFORMANCE OR ENFORCEMENT OF, OR IN ANY
WAY RELATED TO, THIS AGREEMENT.

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This letter agreement shall be governed by the laws of the State of Michigan, without
giving effect to any conflicts of laws principles. This letter agreement may be executed in any
number of connterparts, each of which shall be an original but all of which together shall
constitute one and the same instrument

Sincerely yours,

COMERICA BANK, as Cynergy Agcnt and
Prosperity Agent

Name: Dh»/ Kl£’$»/`é&
riner vice FK£$:oé»/t“

DYMAS FUND!NG COMPANY, LLC, as

 

 

 

 

 

 

 

 

 

Dymas Agent
By=
Name:
Title:

Acknowledged and Agreed:

CYNERGY DA'I'A, LLC

BY~

Name: 9

Title:

HARRIS N.A.

BY»

Narne:

"l`itle:

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This letter agreement shall be governed by the laws of the State of Michigan, without
giving effect to any conflicts of laws principles. This letter agreement may be executed in any
number of ootmterparts, each of Which shall be on original but all of which together shall
constitute one and the same instrument

Sincerely yours,

C()MERICA BANK, as Cynergy Agem and
Prosperity Agent

By:
Name:
Title:

 

 

 

DYMAS FUNDING COMPANY, LLC, as
Dymas Agcm

  

 

Acknowledged and Agreed:
CYNERGY DATA, LLC
By:

Name:
Titlo:

 

 

 

HARRIS N.A.

By:
Name‘.
Title:

 

 

 

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This letter agreement shall bc governed by the laws ot`thc State of Nliclngan, without
giving effect to any contlicts of laws principles. This letter agreement may bc executed in any
number Of` connto?p:irts, each of which Shall be am original but all of Which together shall
constitute one and the same instruman

Sinccrcly yours,

COMERICA BAN K, as Cynergy Agont and
Prospcrity Agcm

By:
Nz:mc:
Title:

 

 

 

§)YMAS FUNDING CGMPANY. LLC, as
Dymas Agent

By:
Name:
hl`ltlc:

 

 

 

.~'\cknowlcdgcd and Agrccd:

CYNERGY DATA, LLC

 

 

HARRIS N.A.

 

Name:
Titlc:

 

 

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?his letter agreement shall be governed by the laws of the State of Micliigan, without
giving effect to any conflicts of laws principles. This letter agreement may bc executed in any
number of counterparts, each of which shall be an original but all of which together shall

constitute one and the same instmment.

Acl<nowledged and Agreed:

CYNERGY DATA, LLC

By:

Sinccrcly yours,

COMERICA BANK, as Cynergy Agcnt and
Prospcrity Agent

BY‘-
Namc:
Title:

 

 

 

DYMAS FUNDING COMPANY, LLC, as
Dymas Agent

By:
Name:
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